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                  EXHIBIT 30
       REDACTED VERSION
OF DOCUMENT SOUGHT TO BE SEALED
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              Gianni Versace, S.p.A.
                        v.
    Versace 1969 Abbigliamento Sportivo, S.r.L.
              No. 16‐CV‐03617‐HSG



         Expert Report of Dr. Thomai Serdari

                   November 17, 2017




                   Attorneys’ Eyes Only




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I.     Introduction and Qualifications

       A.      Scope of Engagement

       I am Thomaï Serdari, PhD, Adjunct Associate Professor of Marketing at the Leonard N.

Stern School of Business, New York University. I was engaged by counsel for Plaintiffs Gianni

Versace, S.p.A. and Versace USA, Inc. (collectively “Versace” or “the real Versace”) in

connection with Versace’s trademark infringement and dilution claims against Versace 19.69

Abbligiamento Sportivo S.R.L. and its owner Theofanis Papadas (collectively “Versace 19.69”).

       Specifically, I was retained by counsel for Versace to perform the following analyses:

           to consider whether and in what ways Versace 19.69’s activities in the United States

            are likely to harm the value of the Versace brand; and

           to analyze factors relevant to whether Versace 19.69’s use of the “Versace”

            trademark on and in connection with the licensing, manufacture, distribution,

            advertising, offer for sale and sale of products and retail stores creates a likelihood

            of confusion among consumers about the source, affiliation, connection, or

            sponsorship of Versace 19.69’s products and retail stores;

           to analyze factors relevant to whether Versace 19.69’s use of the “Versace”

            trademark on and in connection with the licensing, manufacture, distribution,

            advertising, offer for sale and sale of products and retail stores creates a likelihood

            of dilution, by impairing the strength of the association between the trademark

            “Versace” and authentic Versace products.

       I am being compensated by Versace at a rate of $470 per hour. Appendix 1 to this

report lists the documents and information I have relied on to perform my analysis.



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       B.      Qualifications

       Originally trained as an architect at the National Technical University of Athens, Greece,

I received my doctorate in Art History & Archaeology from the Institute of Fine Arts, New York

University (2005) and an MBA from the Leonard N. Stern School of Business, NYU (2009).

       In 2011, NYU offered me the opportunity to teach the core course in luxury marketing at

the Leonard N. Stern School of Business, and I have been teaching there continuously. I teach a

number of courses on the branding of luxury products and services, including the following:

“The Core of Luxury: Processes, Products, and Strategies through History,” “Luxury Branding:

Brand Thinking and Experience,” “Luxury Launch: Designing & Marketing a Luxury

Product/Project/Enterprise” to undergraduate and MBA students. I also teach “Retail Strategy”

to undergraduates.

       Today, I am considered one of the leading experts on luxury branding internationally. I

have presented papers on luxury branding in over 30 conferences internationally. I have

contributed numerous opinion pieces to Luxury Daily, The Financial Times, Women’s Wear

Daily, The Washington Post, CNBC, Racked, Marketplace, Vogue, BusinessBecause, WalletHub,

AudioBoom (UK), NPR Planet Money etc. As an expert on luxury and a “futurist” (a person who

predicts how trends change and why) I have been interviewed by advertising agencies (Droga5),

trend forecasters (Stylus), and industry associations (print THINK). In 2017, I was honored as

one of the 25 Women in Luxury to Watch worldwide, a list published by Luxury Daily.

       I am co‐editor of the first academic interdisciplinary journal Luxury: History, Culture,

Consumption published by Taylor & Francis (launched in 2014). My academic publications

comprise three book chapters, a journal article, a conference review, and two book reviews, all



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on the subject of luxury products, business, or brands.. I was the sole editor of the March 2017

Special Business issue of Luxury: History, Culture, Consumption.1 Last year alone, I presented

my research in luxury branding at five academic conferences (three in the US, one in Nanjing,

China and one in Toronto, CA), served as moderator on several panels on luxury business

(Luxury Interactive, Graduate Marketing Association, Luxury & Retail Club, Real Estate

Conference on Retail, etc.) and was invited to lecture on luxury at other academic institutions

(ISEM, Spain; Sotheby’s, Christie’s).

II.        Executive Summary

           To understand how Versace 19.69’s use of the “Versace” trademark on products,

product labels, and product packaging; marketing and advertising materials; and in connection

with retail stores (“Versace 19.69 products”) harms Versace, I discuss and analyze the nature of

brands generally, the specific benefits of brand equity and trademarks to luxury brands like

Versace, factors creating a likelihood of confusion between Versace products and Versace 19.69

products and dilution, and the resulting harms to Versace. These discussions and analysis

establish, among other things, that Versace is a very famous brand with a very famous

trademark, in contrast to Versace 19.69 which is unknown in the United States and is trying to

build a new brand, called 19V69 Italia, by using the “Versace” trademark to confuse consumers

into believing that 19V69 Italia is either a Versace brand or otherwise authorized or approved

by Versace.

           Next, I examine the Versace luxury brand model and compare it to what I have called

the Versace 19.69 parasitic brand model. I analyze the various ways in which Versace 19.69’s


1
    A list of my publications over the last 10 years is attached as Exh. A to this report. My CV is attached as Exh. B.


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branding, licensed products, packaging, and advertising is likely to confuse the consumer about

the source, affiliation, connection, or approval of Versace 19.69 products. In my opinion,

Versace 19.69’s branding is likely to confuse consumers by causing them to think that Versace

19.69 is affiliated, connected, approved, or a part of Versace and that Versace 19.69 products

are authorized, sponsored, approved, endorsed or licensed by Versace when they are not. (I do

not make this conclusion as a matter of law, but rather as a factual matter based on my analysis

of the facts and applying my expertise on luxury brands and consumer behavior.)

        In Section III.E below, I consider the factors set forth in AMF Inc. v. Sleekcraft Boats, 599

F.2d 341 (9th Cir. 1979), which I understand from Versace’s counsel govern the legal analysis of

whether Versace 19.69’s uses of the “Versace” trademark create a likelihood of confusion for

purposes of establishing a trademark infringement claim.2 I conclude that all the Sleekcraft

factors are present in this case. (Again, I am not a lawyer and have no opinion about whether,

as a legal matter, these factors prove a likelihood of confusion in this case. I do conclude, based

on my analysis that, purely as a factual matter, a strong likelihood of confusion between the

Versace mark and the Versace 19.69 mark exists.)

        Next, I analyze the harm Versace 19.69’s use of the “Versace” trademark has caused,

and continues to cause, Versace. In my opinion, Versace 19.69’s branding strategies

intentionally target consumers who are unable to discern the difference between Versace

products and inferior Versace 19.69 products. I conclude that Versace 19.69’s presence in the

marketplace is causing significant harm to Versace.3


2
 Counsel for Versace provided me with an excerpt from Sleekcraft.
3
 I base my opinions and analysis on information available as of today. I reserve the right to review and respond to
new information, or to expert opinions offered by Versace 19.69 or other Defendants in this case at a later date.


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        Finally, I analyze whether Versace 19.69’s use of the “Versace” trademark creates a

likelihood of dilution. I conclude it does.4 (Again, I am not a lawyer and have no opinion about

whether, as a legal matter, these factors prove dilution as a matter of law. I do conclude, based

on my analysis that, purely as a factual matter, Versace 19.69’s use of the Versace name and

trademark threaten to dilute the strength of the Versace brand as a factual matter.)

III.    Analysis and Opinions

        I have been asked to examine a number of questions with regard to both Versace and

Versace 19.69. As a preliminary matter, and to put these questions in their proper context, it

will be helpful to understand some of the basic characteristics of a brand.

        A.      The Nature of a Brand

        The producer or manufacturer of a product typically identifies his products to the

general consuming public through use of a “brand.” A brand is a collection of goods or services

that are associated with each other for the purposes of marketing.5 Producers typically

structure a brand around a common idea, such as a reputation for quality, a personal aesthetic,

a worldview, or an aspiration to a lifestyle.6 This common idea gives a brand continuity and

differentiates the brand from other brands. Another way to conceptualize a brand is as a

“promise” to consumers that the brand will deliver in the future products with the same basic

attributes as the brand delivered in the past.7

        The strength of a brand’s identity can often make the difference in consumer choice

among products. Thus, the strength of a brand – sometimes referred to as “brand equity” – can

4
  Counsel provided me with excerpts from a treatise on trademark law, McCarthy on Trademarks and Unfair
Competition.
5
  Aaker, David, Building Strong Brands, 1996 (Chapter 1).
6
  Ibid. (Chapter 3).
7
  Ibid. (Chapter 7).


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be critical to attracting consumers and the long‐term success of the brand owner. A brand’s

strength is a function of several factors that, when combined, determine the value of the brand,

including brand awareness, the loyalty of consumers to the brand, positive perceived quality,

and positive associations related to the brand. Developing a strong brand that can influence

consumer behavior typically requires the investment of significant time, effort, and expense.8

        Brand equity is the actual commercial value a brand achieves, and that value can be

priced. It is higher for brands with a strong concept, personality, and positioning.9 For

example, a TUMI briefcase and a Louis Vuitton briefcase may both be well designed,

manufactured, and presented. They both offer after‐sale services as well. Because the

consumer captures additional social status (personal value) when carrying a Louis Vuitton, he is

willing to pay extra.10 If, all of the sudden, the market were inundated with Louis Vuitton

briefcases, it would be less distinguishing to carry one. The consumer would gladly leave the

Louis Vuitton brand because he would see no value in its high price. He would feel exploited.

He would then turn to TUMI or elsewhere for his briefcase purchase. Luxury brands increase

their brand equity by excelling in the quality of goods produced, by enhancing the brand code,

and design philosophy, and by limiting production numbers to create scarcity, as discussed

below.11 They also increase their brand equity by spending substantial money in

communicating all of the above through advertising, the press, and a variety of media, as

discussed below.


8
  Aaker, David, Building Strong Brands, 1996 (Chapter 10).
9
  Ibid. (Chapter 1).
10
   Berthon, Pierre et al., “Aesthetics and Ephemerality: Observing and Preserving the Luxury Brand,” in California
Management Review 51/1 (Fall 2009), pp. 45‐66.
11
   Serdari, Thomaï, “STEIDL: Printer, Publisher, Alchemist: The Field of Luxury Production in Germany,” Luxury:
History Culture Consumption, London: Taylor & Francis, November 2015.


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        Once a producer’s brand becomes established, it is usually identified by a “trademark.”

The registration of a trademark is a legal process. A brand’s trademark often serves to protect

the brand’s equity. A trademark is a designation, such as a word or symbol, used to identify a

producer’s products, and to distinguish them from products made or sold by another.12

Trademarks signify the source of a particular good or service, which can be the manufacturing

source, the selling source, and/or the source of sponsorship or affiliation.13 Beyond that, as

discussed in the next section, for certain brands, a trademark can symbolize or embody the

brand’s “promise,” which is often both tangible and intangible. For a luxury brand like Versace,

it is at once a promise of the highest quality tangible goods, but also a promise of something

beyond the mere functionality or utility of the item. Brands like Versace sell an aspiration, a

unique philosophy, and an appealing worldview.

        Although some producers manufacture all the products that bear their trademark, some

producers license trademarks to third‐party manufacturers for certain specific categories of

products.14 For example, Ferrari has chosen to move down market with new product lines that

complement its main offering. Ferrari is an Italian sports car manufacturer based in Maranello,

Italy. With a heritage that takes the brand back to 1939 and a long history of successes in

Formula One racing, Ferrari has become famous all over the world and is known for its superior

quality engineering.15

        However, like any other luxury brand, Ferrari faces limited growth potential within its

core product, mainly because luxury brands do not produce great numbers of product. On the

12
   1 McCarthy on Trademarks and Unfair Competition (“McCarthy”) § 3:1 (5th ed.).
13
   Ibid.
14
   McCarthy § 18:42.
15
   Marina Nazario, All The Things Ferrari Sells That Aren’t Cars, BusinessInsider.com, October 12, 2015, 3:32 PM.


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contrary, luxury brands tend to limit production to create physical and virtual rarity, which (in

this example) raises the public’s desire to acquire a Ferrari car. Additionally, Ferrari cars are

very expensive and therefore address only a narrow segment of the market. A Ferrari may cost

anywhere between $180K and $400K or even more, which means the number of people who

can actually afford it is very small.

        This creates a predicament for the brand: On the one hand, Ferrari is among the most

powerful brands in the world, recognized by almost everyone. On the other hand, very few

people can afford its products. To remedy this, Ferrari leadership decided to follow a down‐

market strategy and offer a range of products that bear the Ferrari trademark and

communicate the brand’s equity.16 Had they launched inexpensive cars (in the range of $15k to

$25K) they would have destroyed part of their reputation and brand power. Therefore, Ferrari

had to consider the different product categories that do not compete with Ferrari’s core

products. Eventually, Ferrari entered into a series of licensing agreements through which it

now offers a range of product from apparel (both men and women) to leather accessories; and

also headphones, watches, surfboards, Mahjong and Chess game sets, sunglasses, leather bags,

and handmade reproduction models of Ferrari originals. This type of assorted merchandise

allows them to capitalize on the power of the brand while also enabling them to reinforce the

Ferrari messaging by carefully controlling the licenses and ensuring that these products are of

the highest quality possible for their category. The prices are quite hefty as well (leather bag

for $3,150; handmade model of original Ferrari car for $14K; ladies leather jacket for $2450;

sunglasses for $2300 and so on). In other words, while Ferrari managed to move away from the

16
  Moffett, Michael H., “Ferrari: Valuing the Prancing Horse,” Thunderbird School of Global Management, HBS
TB0459, October 1, 2016.


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very small market segment who can afford a $250K car, its move down‐market allows it to

capture greater revenues solely based on the power of the Ferrari brand that otherwise would

have remained unexploited.17 The high quality merchandise is compatible with the brand’s

heritage and tradition in quality car making. The high prices of the Ferrari down‐market brand

extensions are representative of its powerful brand and therefore capable of maintaining the

exclusivity that the Ferrari name implies and demands.

         In instances where the trademark owner licenses the brand to another manufacturer, it

is vital that the trademark owner supervise the licensee to ensure that the licensed products

maintain the same quality and character as the products manufactured by the trademark

owner and live up to the brand’s “promise” to its customers.18 If the quality or character of the

licensed products materially varies from the products manufactured by the trademark owner,

the decrease in quality will weaken the strength of the trademark, disrupt the brand’s

continuity, and damage its equity.19

         B.       The Specific Benefits of Trademarks to Luxury Brands

         Trademarks are particularly valuable to luxury brands because a trademark, when

associated with a luxury brand and high‐quality products, represents not only the source of the

product, but also the status to which the consumer aspires. In other words, luxury brands can

have a powerful symbolic significance to the consumer and to third‐party observers that is

independent of the underlying product.20 Consumers’ feelings about themselves, or their


17
   Okawa, Tomoko, “Licensing Practices at Maison Christian Dior,” in Blaszczyck, Regina L. ed. Producing Fashion:
Commerce, Culture, and Consumers, 2008, pp. 82‐108.
18
   McCarthy §18:42.
19
   Bonaparte, Lori et al., “A Case Study: Donna Karan International 1996,” Journal of Financial Education, Vol. 26,
(Spring 2000), pp. 91‐111.
20
   Kapferer, Jean‐Noël & Bastien, Vincent, The Luxury Marketing Strategy, 2009, pp. 5‐37.


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aspirations, are frequently reflected in the brands that they choose to purchase. This is

particularly true for luxury brands like Versace, where the consumer’s use of the brand signifies

positive attributes about the consumer’s status, such as sophistication, wealth, and glamor.21

        In order to develop a luxury brand, a supplier must invest a very significant amount in

the quality of its products and in advertising and sponsorship to convey images of prestige or

success. For example, Lululemon is a self‐described yoga‐inspired athletic apparel company,

and a retailer of technical athletic apparel. The company has invested tens of millions of dollars

in building a premium brand of athletic wear, not only by manufacturing high quality products,

but by associating its brand with a very specific lifestyle: one based on the principles of yoga

practice, such as kindness, humanity, and peace. Consumers are willing to pay a premium for

Lululemon attire because, more than merely owning a high‐quality product, they wish to

associate themselves with Lululemon’s portrayed principles. Instilling this conviction in the

mind of the consumer has cost Lululemon both time and money, but has resulted in the

company being able to charge a premium for its products.22

        In this way, luxury brands differ from mass market brands in that they strive to grow not

simply by increasing production, but by increasing demand for a scarce and impeccably made

product. In general, luxury brands invest heavily in the production of products that bear the

following traits:

                Scarcity: the products are made of rare materials, using rare methods of

                 production, or in limited quantities;


21
   Berthon, Pierre et al, "Aesthetics and Ephemerality: Observing and Preserving the Luxury Brand," in California
Management Review, Vol. 52, No. 1, Fall 2009, pp. 45‐66.
22
   Tybout, Alice M., Lululemon Athletica, HBS KE1010, June 13, 2017.


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                Quality: the products are particularly well designed and their manufacturing

                 processes are impeccably executed;

                Culture: the products have a special aesthetic that is the result of a complex

                 cultural code, stemming from the creator’s personality, evolving with time to

                 remain contemporary.23

Because luxury brands focus on scarcity, quality, and culture, a luxury brand cannot grow simply

by increasing production; it is not possible to manufacture products in mass quantities with

these traits. Luxury brands reinforce their worth by not responding to growing demand.

Certain consumers crave scarce products that are not easily available and not financially

accessible.24

        Luxury brands leverage the scarcity of their products by strictly controlling product

pricing, quality, and distribution channels. Price increases signal the scarcity of the products,

making them more desirable to consumers — in classic economics, these are known as Veblen

or positional goods.25 In this way, a trademark is particularly valuable to a luxury brand.

Whereas a mass merchant might leverage a reputation for high quality by expanding his

customer base and increasing the output of his products, such increases in output are

antithetical to the concept of scarcity that underlies luxury branding. A luxury brand leverages

the strength of its trademark by increasing the price of its products, rather than increasing




23
   Serdari, Thomaï, “Experiments in Suchness: Hiroschi Sugimoto’s silk shiki for Hermès,” in John Armitage and
Joanne Roberts eds. Critical Luxury Studies: Art, Design, Media, Edinburgh: Edinburgh University Press, 2016, pp.
131‐150.
24
   Kapferer, Jean‐Noël, Kapferer on Luxury: How Luxury Brands Can Grow Yet Remain Rare, 2015, pp. 1‐5.
25
   Definition of Veblen goods in The Financial Times Lexicon (http://lexicon.ft.com/Term?term=Veblen‐good) last
accessed on November 14, 2017.


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output.26 The value of a luxury brand’s trademark stems from the fact that it is used seldom,

and only on products of exceptional quality that are strictly controlled by the luxury brand.

        Luxury brands grow stronger through their personality, consumer awareness,

positioning, loyalty, equity, and value. Strong luxury brands have personalities that are often

based on the personalities of their founding designer.27 For example, think of Coco Chancel,

founder of the high‐fashion brand Chanel. She was known as irreverent, rebellious, curious,

challenging, empowered and indulgent, with a taste for the good life. These traits have

survived Coco Chanel. Today, they describe her namesake brand. They set up consumers’

expectations in relationship to Chanel products and experiences.28 Similarly, Tory Burch, a New

York City Upper East Side socialite with a preppy heart and a flair for exotic escapades has

created a namesake brand that evokes the very same ideas.29 So too with Versace. Gianni

Versace, a fashion designer and founder of Versace, was known for his sharp and edgy designs,

his color palette, and a keen eye for use of symbolism (especially the Medusa head and Greek

key) that linked his work to classicism and Italy, his birthplace, resulting in a brand of baroque

aspiration. Versace, the brand, uses these principles as a vocabulary to communicate with the

consumer.30 Over time, they have solidified as a very clear design philosophy and have become

synonymous with the brand itself. As discussed below in Section III, in my opinion based on

reviewing the Versace 19.69 licensed product line, Versace 19.69 has attempted to copy the

personality of the Versace luxury brand.


26
   Kapferer, Jean‐Noël & Vincent Bastien, The Luxury Marketing Strategy, 2009, p. 76.
27
   Aaker, David, Building Strong Brands, 1996 (Chapter 5).
28
   Khaire, Mukti & Kerry Herman, Coco Chanel: Creating Fashion for the Modern Woman, HBS 9‐812‐001, April 18,
2016.
29
   Tory’s Story (https://www.toryburch.com/about‐tory/about‐tory.html) last accessed November 14, 2017.
30
   Martin, Richard, Gianni Versace, 1998.


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                  1.    The Harm of Trademark Confusion

         Brand or trademark confusion can take several forms. One type is source confusion

where consumers believe that the trademark owner is the source of a good or service offered

by another firm that uses a similar trademark.31 For example, source confusion would occur if a

consumer sees a women’s handbag bearing a medallion that reads “Versace 19.69

Abbigliamento Sportivo” and concludes that the handbag was manufactured by Versace. A

similar type of confusion relates to sponsorship, affiliation or approval. This type of “affiliation”

confusion occurs when the consumer believes that the seller of a product using the trademark

is somehow connected to the trademark owner.32 For example, this kind of confusion would

occur if a consumer saw the same handbag mentioned above and concluded that the company

that made the handbag is connected to or sponsored by Versace in some way.

         Obviously, absent legal restrictions to doing so, start‐up firms would have a strong

economic incentive to use a brand or trademark belonging to another firm that has a

reputation for producing a consistently high‐quality product. These new entrants (which I have

read are sometimes referred to as “junior users” of the trademark)33 may be able to

immediately appropriate the premium that consumers are willing to pay for the preexisting

brand, without incurring the huge expense of building awareness of the new brand. (Indeed,

we see this precise effect in the conduct of Versace 19.69.) Further, if consumers have a

negative experience with the new entrant’s product, they are likely to attribute that negative

experience to the trademark owner. In this way, confusion can actually reverse the “promise”



31
   McCarthy § 23:5
32
   Ibid. at § 23:8.
33
   Ibid. § 23:65.


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that the trademark owner has invested so much in creating, undermining the real trademark’s

owner ability to charge a premium for that “promise.”34

         Moreover, in the event that the consumer eventually recognizes that there is no

connection between the trademark owner and the new entrant, the consumer’s initial

confusion increases the time it takes the consumer to identify the desired products, which is

detrimental to any luxury brand.

                  2.   The Harm of Trademark Dilution

         I have reviewed excerpts of the McCarthy on Trademarks legal treatise provided to me

by Versace’s counsel, from which I have learned that, as a legal matter, trademark dilution

refers to instances where consumers can actually tell that there is no connection between two

firms using similar trademarks, but the value of a famous trademark is nonetheless diminished

by the junior user’s use of the trademark.35 One version of such harm is called tarnishment and

the other blurring.

         Dilution by tarnishment occurs when another firm’s use of a trademark sullies the

trademark owner’s reputation that has become associated with his trademark among the

consuming public.36 For example, imagine that firm A has a famous trademark associated with

high‐quality products and exemplary customer service, and firm B begins selling products under

the same name, but has terrible product quality and customer service. Even if customers know

that there is no connection between the two firms, the association of the trademark with a

product of such low quality undermines the positive associations that consumers have with the

famous mark. In other words, the reputational capital that the trademark owner has built up
34
   McCarthy. § 2:3.
35
   Ibid. § 24:67.
36
   Ibid. § 24:89.


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over time through advertising, providing high quality service, and selling high quality products is

tarnished.

        Dilution by blurring occurs when the new entrant’s use of the trademark weakens the

brand “promise” that connects the trademark to the trademark owner.37 For example, suppose

that a bank uses the name “Dollar General,” in part, to signal to potential customers that the

bank can help them grow their savings. In the first several months, there may be confusion

over whether the bank is affiliated with the famous discount retailer, also called “Dollar

General.” That confusion might wane over time, as consumers learn that there is no

connection between the two firms. Still, blurring leads to consumers taking extra time and

effort to determine that the two firms using similar trademarks are not connected. This

undermines the trademark’s value in communicating the brand promise and value proposition

(which means what a brand promises to do for a consumer), and makes the consumer’s journey

to find the actual brand she wants to purchase more difficult.38 It also reduces consumers’

willingness to pay a premium for an undifferentiated brand.39

        C.       The Versace Luxury Brand Model versus the Versace 19.69 Parasitic Model

        Based on the design vision of Gianni Versace and now Donatella Versace, Versace has

become one of the most iconic luxury brands in the world. Versace’s name, its Medusa head




37
   McCarthy § 24:69.
38
   Ibid. § 24:72.
39
   Literature on consumer journeys is vast enough to sustain a semester‐long study. For the purpose of this report,
it suffices to have a basic understanding of what the consumer journey is. To obtain that understanding, read
Rosenbaum, Mark S. et al., How to create a realistic customer journey map, Business Horizons (2017) 60, pp. 143‐
150.


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logo and Greek key motif are world famous, immediately calling up associations in the

consumer’s mind with luxury, and the highest quality.40

        Versace has invested hundreds of millions of dollars advertising and promoting Versace

products and what I call the Versace brand “promise” of sophistication, sensual glamor, and

luxury.41 Beyond paid advertising, Versace invests significant time and resources promoting

Versace products and the Versace brand through magazine covers, press editorials, media

appearances, celebrity dressing, collaborations, fashion shows, boutique openings, and social

media. Some of the world’s biggest stars, including Jennifer Lopez and Lady Gaga famously

have worn Versace. Popular music often uses the Versace name to refer to the highest levels of

style and luxury. (See Section III.E.1 below for a detailed look at Versace’s advertising,

promotional activities, and cultural fame.) The reason Versace attracts that caliber of

celebrities is its investment in hiring some of the best photographers in the world (for example

world renowned Bruce Weber)42 as well as the most famous super models (for example Kate

Moss among others).43 Versace has also invested tremendous resources and attention to

maintaining world‐class customer service, which I also confirmed during my visit to the New

York Versace boutique. I learned from the Store Manager that he is in charge of a dedicated



40
   My prior knowledge of this was reinforced after speaking with Versace’s New York flagship Store Manager,
Dillon Smith, on November 13 at 1 pm.
41
   I learned the information in this section in part from the Declaration of Stephen Croncota, then Versace’s Chief
Marketing Officer, dated October 20, 2016, which I understand was filed in a different case. I refer to it in
shorthand as “Croncota Declaration.” I also received photographs and financial information regarding advertising
expenditures from Versace’s counsel.
42
   Turra, Alessandra, Bruce Weber Shoots Versace Spring Ads, Women’s Wear Daily, December 14, 2016.
43
   Super model Kate Moss has a long‐standing relationship with Versace that started over 20 years ago and
continues strong. In addition to seeing her in the current print product catalogs that the Store Manager showed
me during my boutique visit on November 13, 2017 I have also found several sources (print and videos) that
document the central role this multi‐million dollar model plays in Versace’s campaigns. Read: Maza, Erik, Kate
Moss Fronts for Versace’s Fall Campaign, June 25, 2013.


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budget through which he is in charge of “delighting his customers” with service of superior

quality.

        In contrast, Versace 19.69 was not founded by a designer at all as I understand it, but

rather by a man whose surname happened to be the same as the surname of a famous

designer.44 Versace 19.69’s business is licensing the company name “Versace 19.69

Abbigliamento Sportivo SRL,” which includes the famous “Versace” name, to various licensees

in the United States and around the world, who then manufacture – often in China – discount

versions of the same type of products the real Versace manufactures in Italy and Europe.45

Versace 19.69’s licensees then attempt to sell those products prominently displaying the

Versace trademark. Absent use of the Versace trademark, in my opinion Versace 19.69 would

be a totally unknown discount brand in the United States.46 For this reason, I refer to the

Versace 19.69 business model as parasitic of the real Versace.47

        As a general matter, luxury brands like Versace develop around special characteristics

without which they would be indistinguishable from other brands. Among other things, these

consist of the brand’s:

44
   I read in Mr. Papadas’s deposition that Alessandro Versace was a professor with no design experience and that
Mr. Papadas did not think he was related to Gianni Versace. Papadas Deposition at 40:10‐41:7, 42:11‐16. I have
also read the testimony of Santo Versace that Alessandro Versace is not related to Santo, Donatella, or Gianni
Versace and that he never worked for Versace. Deposition of Santo Versace, October 20, 2017 (“Santo Versace
Depo.”) at 7:19‐8:24, 17:2‐25, 18:24‐19:25, 21:1‐22:4.
45
   I read about Versace 19.69 licensing agreements in the documents provided to me by Counsel. Papadas Depo.at
248:14‐249:5; 158:4‐159:20; Exh. 1 to Babyan Depo (standard Versace 19.69 licensing agreement.) I confirmed
that Versace manufactures in Europe only when I spoke to the New York Versace boutique’s Store Manager on
November 13, 2017.
46
   The record contains several examples of licensees testifying they regarded the Versace 19.69 brand as
essentially valueless absent the Versace name. See Deposition of Serge Babayan (“Babayan Depo.”) 15:25‐16:20;
16:25‐17:7; Deposition of Sol Bergman (“Bergman Depo.”) 34:9‐35:4; Deposition of Charles Azrak (“Azrak
Depo.”)[ROUGH] 14:16‐15:23.
47
   I use the word parasitic because Versace 19.69 capitalizes on Versace’s trademark fame in a parasitic manner. I
am not referring to parasitic marketing initiatives that relate to Ambush marketing in the academic marketing
literature.


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         Country of origin

         Predefined (limited) number of goods produced

         Communications

         Pricing strategy

          Country of origin is important in luxury branding mainly because luxury brands generally

develop thanks to a special individual (the brand’s founder) who comes from a specific

country.48 For example, Coco Chanel was French and her namesake brand Chanel is French

both in terms of heritage and because the style marketed under that label is French. Chanel’s

studios are located in France and so are the seamstresses, embroiderers, lace makers, button

makers, etc. who work for the brand. Having consistently used the French know‐how of

garment making, Chanel owes its reputation to its French origins.49

          Similarly, Versace, an Italian brand founded by the designer Gianni Versace in 1978,

purposely organized its design business around industries that thrive in Italy: textile making,

leather cutting, jewelry making etc. In addition, Gianni Versace also drew inspiration from

imagery and symbolism associated with Roman antiquity. As Chanel is quintessentially French,

Versace is quintessentially Italian. Luxury brands originate from a handful of countries and

generally maintain their production facilities in these countries. Versace uses the know‐how of

several local Italian industries in the assembly of the goods it markets under its name. 50

          Predefined and limited numbers of goods produced: As discussed in the previous

section, luxury implies scarcity. This is achieved through the sourcing of raw materials, limiting

48
   Kapferer, Jean‐Noël & Vincent Bastien, The Luxury Marketing Strategy, 2009, p. 78.
49
   Mellery‐Pratt, Robin, Chanel, the Saviour of Savoir Faire, The Business of Fashion, April 19, 2015.
50
   Versace does this for its haute couture line as I confirmed with the Versace New York boutique Store Manager
on November 13, 2017.


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the production of goods at a specific location, limiting the number of manufacturing facilities,

limiting the numbers of workers responsible for applying the brand’s know‐how. All this slows

down production and ensures high demand and low supply. The number of luxury items

produced is limited as well. For example, Hermès will produce a specific number of silk scarves

each year. Hermes bases its decision on intelligence about current markets and new markets

the brand wishes to enter (their size, their ability to purchase, etc.). Maintaining this scarcity

contributes to the luxury of the brand.51

        Versace renews its product offerings six times per year.52 In order to minimize

operation costs, the brand carefully studies the market and tries to plan ahead by forecasting

sales numbers for each season. These sales numbers are then used at the manufacturing

facilities to determine the number of goods produced in order to ensure the maximum level of

sales with minimum overstock for each season.53

        Conversely, Versace 19.69 licenses the manufacturing of a great number of goods that

are then distributed through mid and low tier (discount) brick‐and‐mortar and online retailers.

Versace 19.69 overstock is marketed with further reduced prices.54 The number of goods

produced and circulated under the name Versace 19.69, the distribution network, and Versace

19.69’s pricing strategies are all tactics Versace 19.69 employs to penetrate the market and

inundate it with product.55 These tactics, which help a low‐end brand like Versace 19.69 move




51
   Kapferer, Jean‐Noël, Kapferer on Luxury: How Luxury Brands Can Grow Yet Remain Rare, 2015, pp. 41‐61.
52
   I confirmed this with the Versace New York boutique Store Manager, Dillon Smith, on November 13, 2017.
53
   Kapferer, Jean‐Noël, Kapferer on Luxury: How Luxury Brands Can Grow Yet Remain Rare, 2015, pp. 50‐51.
54
   Eddie Betesh Deposition (“Betesh Depo.”) 118:13‐125:22 & Exh. 122.
55
   SARAMAX‐0016546.


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merchandise in the short term, are anathema to Versace, a luxury brand whose brand

“promise” is scarcity, quality, and culture.56

         Communications. Luxury brands have a tightly controlled communications strategy. For

luxury brands, this means that they have full control over the styling of their ads (whether they

are print or digital) as well as their placement. Luxury brands advertise in glossy publications

(such as Vogue, Elle, etc.).57 They do not produce fliers to distribute to other businesses.58 As

set forth in Section III(E)(1) below, Versace engaged in a well‐managed and tightly controlled

communications strategy with its customers and potential customers.

         Pricing strategy: On the one hand, Versace and other luxury brands price their products

to cover more than costs and profit margin. They price to communicate the uniqueness of the

brand, its design philosophy, its exclusiveness and inaccessibility, and its positioning in relation

to other luxury brands in the market. Luxury brands communicate with rounded numbers, for

example $675 for a pair of shoes, never $69.99 for a pair.59

         On the other hand, mass marketed brands like Versace 19.69 try to attract the

consumer with a low price (or, in the case of Versace 19.69, a low price combined with a

famous trademark), usually decreased by $0.01 for psychological reasons, and reduce their

prices dramatically when they want to sell.60 Cost of goods sold is generally low because mass

marketers like Versace 19.69 outsource production, choose inferior raw materials, don’t invest


56
   Serdari, Thomaï, “Experiments in Suchness: Hiroschi Sugimoto’s silk shiki for Hermès,” in John Armitage and
Joanne Roberts eds. Critical Luxury Studies: Art, Design, Media, Edinburgh: Edinburgh University Press, 2016, p.
135.
57
   Croncota Declaration ¶ 22.
58
   Kapferer, Jean‐Noël & Vincent Bastien, The Luxury Marketing Strategy, 2009, pp. 72‐73.
59
   Based on market research I regularly conduct in order to teach my classes.
60
   Coulter, Keith S. et al, “Comma N’ Cents in pricing: The effects of auditory representation in encoding on price
magnitude perceptions” Journal of Consumer Psychology, Volume 22, Issue 3, July 12, pp. 395‐407.


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in creative original designs, etc.61 Mass marketed brands can reduce prices because their

merchandise costs them very little to begin with due to its marginal quality. Luxury brands like

Versace face tremendous costs in terms of infrastructure, labor, costs of raw (rare) materials,

and intellectual property development. They base their pricing on their high production costs

plus a margin plus a variable that helps them differentiate themselves from competitors.62

        D.       Versace 19.69’s Parasitic Commercial Activities Create a Likelihood of
                 Confusion

        In the following discussion, I consider the ways in which Versace 19.69’s business model,

as described generally above, intentionally creates a likelihood of confusion between Versace

19.69’s products and the real Versace’s products.

                 1.       Versace 19.69’s company name uses Versace’s trademark

        Since 1978, its founding year, Versace has invested enormous resources in

strengthening its trademark in terms of concept, personality, customer awareness, positioning,

loyalty, and equity.63

        Versace’s trademarks are the following:64




61
   I have personally examined a selection of Versace 19.69 products, including handbags and shoes, and have
reviewed over 1000 photographs of an assortment of Versace 19.69 products. As a general rule, Versace 19.69, in
particular handbags, clothing, and shoes are made with plastic and other inferior materials. Having also examined
genuine Versace products at Versace’s New York boutique, I can personally attest to the markedly inferior quality
and materials of the Versace 19.69 goods I examined.
62
   Kapferer, Jean‐Noël & Vincent Bastien, The Luxury Marketing Strategy, 2009, pp. 217‐231.
63
   See Section III.E.1 below for detailed discussion of the strength and fame of the Versace mark.
64
   Counsel forwarded me the Versace trademarks and asked me to assume that the images included in the text are
in fact Versace’s registered trademarks.


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        Versace 19.69’s company name as it appears in its advertising, packaging, displays and

marketing materials uses the “Versace” trademark:65




65
  Versace’s counsel provided me with the image of Versace 19.69’s company name shown in the text. I have also
seen the Versace 19.69 company name in numerous photographs of Versace 19.69 packaging and advertising, as
well as on Versace 19.69 products themselves. Counsel also provided me with an image of Versace 19.69’s actual
trademark:




As I discuss in Section III.E.7 below neither the Versace 19.69 trademark nor the Versace 19.69 company name
would have any meaning to consumers in the American market, absent the use of the “Versace” trademark in the
Versace 19.69 company name.


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        Versace 19.69 uses the the “Versace” trademark in a number of ways – on the product,

on the product packaging, in catalogs sent to retailers to enlist them to carry the product, in

showroom signs where retailers come to view products, and in advertising.66 Some examples of

the use of the “Versace” name on products, product labels, and product packaging follows:

                              Versace 19.69 Handbag (Licensee AHQ)




                               [V‐AHQ‐Samples‐11.1; 11.2; 11.3; 11.5]




66
  More examples of how Versace 19.69 used the Versace name within its company name in communicating with
customers are collected in my reliance materials. Appendix 1.


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            Versace 19.69 Women’s Dress Shoes (Licensee FHQ)




                   [V‐Century21‐Samples‐44.2 & 44.6]




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               Versace 19.69 Jeans [Licensee Essentials NY]




                     [V‐EZA‐Samples‐2.1; 2.2; 2.5; 2.6]


               Versace 19.69 Sheets (Licensee Pem America)




                                [PEM 0209]


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        By using the Versace mark and incorporating it into all of its communications to the

public through the “Versace 19.69 Abbigliamento Sportivo SRL” name, Versace 19.69 effectively

associates itself in consumers’ minds with both the brand “promise” and trademark embodying

Versace’ s design philosophy. Versace 19.69 never made or had to make the huge investments

in creative development, design, advertising and promotion that Versace did to make its mark

famous – because the Versace name, brand, and trademark were already famous when Versace

19.69 started copying them in 2001.67 By 2001, Versace had already spent hundreds of millions

on advertising and promotion, and the Versace mark was already a strong signifier in

consumers’ minds, conjuring associations with elegant products of Italian provenance, finely

designed, crafted and executed.68

        Indeed, it is no coincidence that, although Versace 19.69’s business model rests on

licensing the Versace name to various licensees, who arrange to have Versace 19.69 branded

products cheaply made in China,69 Versace 1969’s company name and most of its products and

packaging feature the words, “Milano” or “Milano Italia:”




67
   Papadas Depo. at 61:8‐10.
68
   See Section III.E.1 below for a detailed discussion of Versace’s advertising and promotional activities in the
United States. Versace’s 2001 Spring collection received coverage in Vogue, including this opening sentence: “A
sudden downpour did not keep anyone away from Donatella Versace's high‐powered show, including guests of
honor Courtney Love, Christina Ricci and Bruce Willis.” https://www.vogue.com/fashion‐shows/spring‐2001‐
ready‐to‐wear/versace. By 2001, Versace was already synonymous with elegance, sensual glamor, and celebrity.
69
   See footnote 45 and accompanying text.


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                     (Versace 19.69 Handbag; V‐Century21‐Sample ‐30.4)




                     (Versace 19.69 Handbag; V‐Century21 Sample‐30.5)

       In my opinion, Versace 19.69 uses the “Milano Italia” designation on its products and

packaging to (1) suggest that the Versace 19.69 products are made in Italy and of much higher

quality than they in fact are; and (2) to confuse consumers into thinking that Versace 19.69 is




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part of the real Versace, which is based in Milan and does in fact manufacture products in

Italy.70

           In my opinion, Versace 19.69’s use of the Versace name within the Versace 19.69

Abbigliamento Sportivo SRL company name is likely to lead to consumer confusion because it

draws on the consumer’s already established and strong association with Versace as

established by Gianni Versace.

                     2.       Versace 19.69 copied Versace’s design “code,” creating confusion

           Versace 19.69 also appropriated the style and characteristic design elements of the

Versace brand, which reinforces the association caused by Versace 19.69’s use of the Versace

name. Based on the consumer complaints I have reviewed, Versace 19.69 products are of

lesser quality than Versace originals. In addition, I asked counsel to provide me with samples of

Versace 19.69 and can confirm that the quality is indeed terrible.71 To sidestep this problem,

Versace 19.69 projects the design “code” that Versace communicated over time – a code that

stands for, among other things, the highest quality.

           The original Versace “code” consists of sharp and modern designs; a color palette based

on the use of the color black combined with gold and/or bright colors; use of edgy, punk

hardware contrasted with the use of subtle flowing fabrics; and incorporation of futuristic and

metallic elements combined with symbols that stem from antiquity and Italian classicism. One

could say that Versace as a brand encompasses a kind of baroque aesthetic aspiration. The

physical elements Versace uses to translate its code into product are: the Medusa head, heavy

gold chains, studding, and quilting, among others. Versace actually uses this exact vocabulary

70
     Carlo Licausi Deposition (“Licausi Depo.”) at 7:9‐21.
71
     See Section III.5.4; footnote 61.


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(baroque) to describe its offerings. Trained in art, I confirm that Versace has accurately

interpreted the concept of baroque in its products.72

        A comparison of Versace and Versace 19.69 products shows that Versace 19.69 has

appropriated these characteristic Versace design elements. For example, below are some

photographs from a Versace 2014‐2015 Home Catalog that show Versace using the black and

gold color palette that is part of the Versace aesthetic.73 Also, below are photographs from the

recent Versace Fall Fashion Show in Milan, as well as a Versace scarf depicting the same gold

over black aesthetic.




                              [Versace Home Products, 2014‐2015 Catalog]


72
   I have been trained to define brand codes through careful visual analysis. I confirmed my analysis with a phone
conversation with Versace’s Chief Marketing Officer, Lorenzo Conti on November 17, 2017.
73
   http://www.versacehome.com/pdf/catalogue/catalogo_2014‐2015.pdf.


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                   [Image from Versace Twitter Feed]




                   [Image from Versace Twitter Feed]


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                                [Image from Versace Twitter Feed]

This color palette is also reflected in Versace’s product tags, which are black with a gold font.

                                      Versace Product Tag:




                                      [Versace 0012050‐51]



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        Below are more examples of Versace 19.69’s products, packaging, and branding

instructions provided to licensees.

                                  Versace 19.69 Home Dinner Plates:




                  [Versace 19.69 Home Goods Catalog, VER19.69_002331, ‐2333]



74
  I also reviewed Mr. Papadas’s testimony about this document. See Papadas Depo., Vol. III, at 322:10‐325:23,
328:17‐22, 330:2‐5 (confirming that the document was created by Versace 19.69 and provided to licensees along
with other information and designs).


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                 Versace 19.69 Retail Store Shopping Bag:




            Branding Presentation by Master Agent, PJB Brands:




                  [A‐GFD ATTORNEY'S EYES ONLY 008533]



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     Note that the distinctive color combination of black and gold has been lifted from original

Versace product design that is generally recognizable in the market as Versace.

          In addition, Versace 19.69 uses the leopard‐style print that Versace has established as

part of the brand’s visual vocabulary in a variety of products. Some, including Versace, refer to

this as “animalia.”75 For example, compare the use of leopard print in a dress and a pillow in

the home collection designed by Versace




                                   [Fall/Winter 2014 Versace Catalog]




75
  Animalia is the Latin term for the animal kingdom (https://www.merriam‐webster.com/dictionary/animalia, last
accessed 11/16/2017). It is an elegant way to refer to motifs that come from the animal kingdom and used to
decorate textiles.


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                           [2014‐2015 Catalog for Versace Home]

– with the same pattern and coloration used by Versace 19.69 for women’s underwear (in

section below, V‐CENTURY21‐SAMPLE‐66.1), handbag linings, and jackets linings

                               Versace 19.69 Handbag Lining:




                                 [V‐Century21‐Sample‐1.4]




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                                   Versace 19.69 Child’s Jacket Lining:




                                             (V‐Gilt‐Sample 2.2.)



        Moreover, as mentioned in the previous section, one of the pillars on which Versace’s

brand rests is its baroque aesthetic. Baroque is an art historical term that refers to ornate

artistic compositions with elements from the ancient world (Greek & Roman) and which,

additionally, is characterized by movement, elaborate designs, and opulence. Versace

incorporates the idea of baroque not only in the design of its products but also in the context

within which it presents its products. This includes the staging of its print and digital ads, its

catalogs, and of course its brick‐and‐mortar boutiques in which the baroque elements are the

basis of the store design.76




76
   I confirmed prior knowledge about Versace’s baroque aesthetic during my visit to Versace’s New York City
flagship boutique on November 13, 2017.


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                 Versace.Com Bathrobe Product Section:




                            [Versace.com]




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                Versace Home Collection Catalog Excerpts:




                 [Versace Home Collection Catalog, 2017]




                   [Versace Home Catalog, 2014‐2015]




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       Versace 19.69 has appropriated Versace’s aesthetic and has created ad campaigns that

strongly recall Versace’s images.

                                Versace 19.69 Advertisements:




                  (V1969‐0003956)               [Versace 19.69 WWD Advertisement, 2015]




       There are a few designs in particular that relate Versace to its baroque aesthetic. For

example, the decorative frieze that features an ancient amphora (that is, vase) enclosed in a

wreath and flanked by two fountains (or vertical markers) is used frequently in Versace’s

designs. It is usually painted yellow against a black background. The general impression of it is

one of a frieze with busy, curvilinear and flowery elements.




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                            [Versace.com]




                   [Versace 2014‐2015 Home Catalog]




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       Versace 19.69 used a similar design in its intimate apparel collection by Saramax (there,

combined with a leopard print). It is mainly yellow on dark brown/black background and gives

exactly the same impression to the viewer as Versace’s frieze does. The effect is even more

successful for an untrained eye or when the two designs are seen in haste.




                                  (V‐CENTURY21‐SAMPLE‐66.1)



The following is a page from a Saramax catalog featuring this collection that displays the frieze

with leopard print, and another collection that uses gold chains, another familiar look for

Versace.




                                                41                           ATTORNEYS’ EYES ONLY
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                         [Saramax 00000003]




                                42                     ATTORNEYS’ EYES ONLY
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       Here is another example of the baroque aesthetic in Versace 19.69, this time with

sheets that I understand are from Versace 19.69 home goods licensee Pem America:




                                          [PEM 0209]

       In addition, I note that V19.69 has gone so far as to use the exact phrase "baroque," a

term prominently displayed on Versace's website, in connection with its products, such as the

purses below sold by Versace 19.69’s U.S. handbag licensee, AHQ:




                                               43                           ATTORNEYS’ EYES ONLY
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                      [Century21‐MTO00000361]




                      [Century21‐MTO00000362]




                                44                     ATTORNEYS’ EYES ONLY
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       The “Baroque” line of Versace 19.69 purses pictured above has a similar appearance to

one of Versace’s most popular lines of purses from more than 5 years ago. The Versace 19.69

purses emulate the quilted Baroque pattern and the color palette of the Versace purses below.




                          [Spring/Summer 2014 Versace Accessories Catalog]



       Also, EZ Apparel




                                      [Macy’s 0000014.xls]




                                               45                            ATTORNEYS’ EYES ONLY
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       Relatedly, Versace’s brand code is based on references to antique sculpture (either

Greek or Roman). These have been featured on Versace products often. They incorporate

other elements of edgy, modern design, which is the aesthetic that has made Versace products

so desirable. This is the case with Versace’s men’s t‐shirt below




                                          Versace.com



       In what is either an attempt to confuse the consumer, or just the inevitable result of its

parasitic branding strategy, Versace 19.69 has produced a men’s t‐shirt that is decorated with

an ancient sculpture, very similar to that of Versace, and which is also manipulated so as to be

modernized.




                                               46                            ATTORNEYS’ EYES ONLY
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       The Greek Key is one of Versace’s visual elements that is consistently used in

communicating the brand’s philosophy. It is an iconic part of the Versace design. Here is an

example on the waistband of some leggings currently on the market:




                                         Versace.com




                                               47                           ATTORNEYS’ EYES ONLY
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Consistent with that look, here are examples of Versace underwear that have the Greek key

waistband (and the baroque aesthetic discussed above). I understand from my conversation

with Versace store manager Dillon Smith that this line of underwear has been offered since he

joined Versace in 2013.




                [http://www.versace.com/eu/en/men/clothing/underwear/]

       Versace 19.69 has created a confusingly similar design to the Greek key pattern –

Versace 19.69 uses the letter V (alternating between the upright and the upside down

position). For instance, this decorative element is placed on the waistband of men’s underwear

made by U.S. intimate apparel licensee Saramax, depicted below in a product sample.




                                              48                           ATTORNEYS’ EYES ONLY
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                                   (V‐SARAMAX‐SAMPLE‐1.1.)




       Versace also produces a classic pump (high heels in black) decorated with a golden

Medusa head made of metal that rests right on top and across the front of the shoe. Versace

19.69 sells a very similar pair of black pumps decorated with a heavy golden chain on top and

across the front of the shoe. And while the chain is not a Medusa head, the visual effect is very

similar and targets the untrained eye or the consumer who vaguely remembers having seen

Versace’s shoe designs. Both shoes use a gold decorative element on the bottom of the shoe.




                                               49                            ATTORNEYS’ EYES ONLY
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                                         [Versace.com]




                                 (V‐CENTURY21‐SAMPLE‐44.3.)




       Furthermore, Versace has been using the letters that form its name (V, E, R, S, A, C, E) in

interesting combinations to create playful designs for many years.




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                              [Fall/Winter 2012 Versace Catalog]




       Versace 19.69 has appropriated this technique to emphasize its own letter V logo, which

has the effect of confusing consumers, who have associations with the original design and the

real Versace.




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(Versace 19.69 Cosmetics; VERSACE0001882)



       Versace is also known for its use of gold hardware. In my opinion, Versace 19.69

capitalizes on this signature of Versace products by adding heavy metallic hardware to its

products, particularly handbags. As an example, compare the Versace Palazzo Cross Body Bag

below with photographs of Versace 19.69 bags.




        [Versace bag; Versace.com]               [Versace 19.69 bag; V‐Century21‐Sample 1.1]




                                               52                           ATTORNEYS’ EYES ONLY
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              Likewise, Versace has a well‐known line of products as part of its desert palm line.

Perhaps the most famous of that line was Jennifer Lopez’s dress for the Grammy awards, but .

there was also clothing, purses, and scarves in this line:77




                        [Spring/Summer 2000 Versace Collection, Vogue.com]



        Versace 19.69 appropriated the idea and created collection presentations against a

background directly referencing Versace’s desert palm motif. Here is what I understand is a

page from a catalog that depicts it:




77
 The full Versace Spring 2000 collection with the fully developed concept of the desert palm motif appears also in
VOGUE’s archives (https://www.vogue.com/fashion‐shows/spring‐2000‐ready‐to‐
wear/versace/slideshow/collection#13 ) (last accessed on November 15, 2017)


                                                       53                                 ATTORNEYS’ EYES ONLY
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                                         [AHQ‐0002239]



       Moreover, I was informed that Versace 19.69 intended to open stores in the United

States. I have seen pictures of the Versace 19.69 store in San Francisco that is now closed. The

similarity between Versace 19.69’s brick‐and‐mortar retail presence and the real Versace is

remarkable. Specifically, I noted the following:

       The real Versace relies on the combination of gold and black as well as white and black

to link its physical presence to the brand’s design “code.” Its New York City flagship store on

Fifth Avenue (which I had visited several times prior to my visit on Monday November 13, 2017

to speak with the store manager, Dillon Smith) showcases a clean, modern aesthetic from the

outside that strongly emphasizes the name of the brand. This is achieved with the use of

prominent lettering against glass windows as well as on a black plaque attached on the side of

the main entrance to the store. The name VERSACE is spelled out in white lettering against the

black background. The interior lighting is configured to project a golden glow to the outside. As

I have explained at length, these color combinations (black and gold) refer to the baroque

aesthetic and bring out the high status and opulence of the Versace brand.


                                                   54                         ATTORNEYS’ EYES ONLY
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       Versace 19.69 replicated the exact color scheme with what I can see on pictures of the

build‐outs. The letter V in white is displayed against glossy black finish on the store counters.

The interior of the store was intended to be white as is Versace’s flagship in New York City.




       In my opinion, an important element used by Versace 19.69 to confuse consumers is the

gold lettering against black background that spells out the brand as




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and which also runs along the façade of the store just underneath an oversize picture of

elegantly dressed models enjoying each other’s company in a baroque interior reminiscent of

an Italian opulent home.




                                              56                           ATTORNEYS’ EYES ONLY
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Here VERSACE 19.69 ABBIGLIAMENTO SPORTIVO SRL, Milan Italia is shown to be prominently

displayed under the sign “COMING SOON.” In my opinion, there is no question that the name

VERSACE, the first word in Versace 19.69’s name, is used as decoy to attract the passerby’s

attention. The combination of images, lettering, and color scheme is meant to evoke a link

between an opulent Italian lifestyle, sexiness (as in the woman in black nail polish featured on

the glass door of the boutique), and Versace’s established baroque aesthetic (specifically the

interplay of black and gold or white lettering over black). As a result of Versace 19.69



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appropriating design elements from the real Versace, products sold under the Versace 19.69

label will look familiar to consumers because they incorporate design details and approaches

found on Versace products. Consequently, the “borrowed” Versace design “code” combined

with the use of the trademark “Versace” misleads consumers into thinking that by purchasing

Versace 19.69 products they are buying into the Versace brand. In my opinion, this almost by

definition leads to, or perhaps defines, consumer confusion.

       E.       The Sleekcraft Factors

       Consistent with my opinion expressed above that, as a factual matter, there is a

likelihood of confusion between the real Versace and Versace 19.69, I have also been asked by

Versace’s counsel to analyze certain factors that I have been told are relevant to a legal

determination of whether there is a likelihood of confusion between Versace and Versace

19.69. I understand from counsel and from review of excerpts of AMF Inc. v. Sleekcraft Boats,

599 F.2d 341 (9th Cir. 1979), that those factors are: (1) the strength of the trademark; (2)

proximity of the goods; (3) similarity of the marks; (4) evidence of actual confusion; (5)

marketing channels; (6) type of goods and purchaser care; (7) intent, and (8) likelihood of

expansion. My understanding is that these are not exclusive factors but serve to guide a court

or jury’s legal determination as to the likelihood of confusion. As mentioned above, my analysis

of these factors is an analysis of the facts and my opinion about those facts. I am not offering a

legal opinion about whether the legal test in Sleekcraft, however the courts apply it, is met.

       As discussed in detail below, in my opinion every one of these Sleekcraft factors is

present here.




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                  1.       The Strength of the Versace Mark

         As I have already explained above, Versace’s marks – its name in the marketplace – is

highly distinctive and recognized as a preeminent world luxury brand. Indeed, in my opinion,

the prominence of the Versace mark is so great that it should not be a controversial point. Even

the owner of Versace 19.69, Theofanis Papadas, agreed that the Versace name was made

famous in the fashion world by Gianni Versace SPA.78 Charles Azrak, who is the jeans and t‐shirt

licensee for Versace 19.69, also admits in his deposition, which I reviewed, that the reason he

entered into a licensing agreement with Versace 19.69 was the strength and fame of the

Versace name and its ability to generate a great number of sales:

             Q. So the ability to use the Versace name in some capacity was a very
             important part of the value of the license that you entered into with Versace
             19.69?

             A. Yes, ma’am.

             Q. Why was the ability to use the Versace name a very important part of the
             value of the license?

             A. Due to the well known Gianni Versace brand.

             Q. The Versace name has become famous in the fashion industry due to the
             owner Gianni Versace. Right?

             A. Correct.

             Q. And the ability to sell product that use that Versace name provides value
             to you as a person who sells products, right?

             ....

78
  See Papdas Deposition, Vol. III, 534:21‐ 535:4 (“Q. Gianni Versace was a famous fashion designer, right? . . . . A.
Of course. Q. And the Versace name was made famous in the fashion industry by Gianni Versace SpA, right? A.
Yes, of course.”); see id. at 535:15‐21 (agreeing Versace is a famous luxury fashion brand).


                                                          59                                 ATTORNEYS’ EYES ONLY
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            A. Correct, in the ways that we were able to use it; yes.

            Q. You didn’t enter into the license agreement in Exhibit 501 because you
            wanted to use the V1969 Italia trademark, right?

            A. No.

            Q. That didn’t have value to you?

            A. No.

            Q. Because it wasn’t recognizable?

            A. Correct.79

        Since its founding, the real Versace has achieved billions of dollars of sales in the United

States alone. In both 2015 and 2016, Versace’s revenue in the US was over $100 million.80

Moreover, since 1978, Versace has extensively and continuously used the Versace name and

trademark, and spent hundreds of millions of dollars, advertising and promoting Versace.81 In

addition to advertising, Versace invests significant time and resources promoting Versace

products and the Versace brand through magazine covers, press editorials, media appearances,

celebrity dressing, collaborations, fashion shows, boutique openings, and social media.82 I

describe some of these efforts below:

        Advertising: Between 2010 and 2015, Versace spent more than $60 million on

advertising in North America alone.83 Versace advertises in high end national magazines and

newspapers, such as Allure, Cosmopolitan, Elle, Esquire, Glamour, GQ, Harper’s Bazaar, In Style,



79
    Charles Azrak Deposition (“Azrak Depo.”) Rough Transcript, November 14, 2017, 14:16‐15:23.
80
   Croncota Declaration ¶ 7.
81
   Ibid. ¶¶ 6, 20.
82
   Ibid. ¶¶ 20‐34.
83
   Ibid. ¶ 21.


                                                      60                                ATTORNEYS’ EYES ONLY
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Interview, Luxe Interiors & Design, Marie Claire, Maxim, Town and Country, Vanity Fair, Vogue,

New York Times/New York Times Magazine, Wall Street Journal/Wall Street Journal Magazine.

And Versace also advertises in high‐end regional publications, such as Ocean Drive Magazine

(Miami) and Michigan Avenue (Chicago). Versace ads are highly distinctive, communicating

what I have described above as the Versace “personality”:




                    And of course this iconic ad featuring supermodels of the 90s:




                          Dazeddigital.com, Gianni Versace’s best ads, 14/31




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           These kind of extremely creative, playful, striking high‐end ads, which are talked about

and remembered years later, are partly responsible for the strength and fame of the Versace

mark.

           Magazine covers: Versace has been featured on magazine covers for decades. For

example, in July 2017, the cover of Elle Magazine (reproduced below) featured Saturday Night

Live star Kate McKinnon wearing a Versace dress. In 2017, Jennifer Lawrence was on the cover

of Vogue magazine (also depicted below). Since 2010, Versace has been featured on the covers

of the following publications: Allure, Cosmopolitan, Details, Elle, Harper’s Bazaar, Marie Claire,

Out, Nylon, Vanity Fair, V, Vogue, and W.84




                              (Versace Press Overview June/July/August 2017)



84
     Croncota Declaration ¶ 24.


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                                        [Versace Twitter Feed]

           Editorial coverage: Versace has enjoyed extensive editorial coverage for years. Here

are a few recent examples. In February 2016, The New York Times Style Magazine featured a

six‐page profile of Donatella Versace, the current Creative Director of Versace, titled “The

Forceful Brilliance of Donatella Versace.” Between 2010 and 2016, Donatella Versace has also

been featured in the following publications, including a double‐page spread in the December

2010 issue of Glamour Magazine announcing her as one of its “Women of the Year”: Wall Street

Journal Magazine (2012, 2015), Vanity Fair (2014), Interview (2011), Harper’s Bazaar (2012),

Glamour Magazine (2010).85

           Media Appearances: Donatella Versace has made frequent appearances on television

shows that reach a national audience, including the Today Show, the View, Joy Behar, CNN’s

85
     Croncota Declaration ¶ 25.


                                                 63                           ATTORNEYS’ EYES ONLY
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“Behind the Scenes with Alina Cho,” and “In the Atelier” with Alina Cho at the Metropolitan

Museum of Art in New York City.86

           Celebrity Dressing. For decades, Versace has dressed, and been known for dressing,

some of the most famous celebrities in the world, often creating a public sensation. Versace

dresses worn by Elizabeth Hurley in 1994 and Jennifer Lopez in 2000 were voted among the

“most iconic dresses of all time” and have their own Wikipedia pages.87




86
     Croncota Declaration ¶ 26.
87
     Ibid. ¶ 27.


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        In 2012, pop superstar Lady Gaga was photographed wearing the same famous “safety

pin” dress Elizabeth Hurley wore in 1994, further reinforcing the dress’s timelessness and fame,

and along with it, Versace’s fame in the mind of the public.88




        Numerous celebrities have worn Versace creations at the Academy Awards, the Golden

Globe Awards, and the Grammy Awards, including Angelina Jolie, Anne Hathaway, Jennifer

Hudson, Halle Berry, Scarlett Johansson, Jennifer Aniston, Jennifer Garner, Kerry Washington,

Nicole Kidman, Kate Hudson, Amy Adams, Jennifer Lopez, Nicki Minaj, Drake, Gwen Stefani, and

Bruno Mars. Versace has also dressed music icons, such as Elton John, Michael Jackson, Tina

Turner, Madonna, Beyoncé, and Lady Gaga. Versace recently dressed Lady Gaga for the 2017

Super Bowl Halftime Show. Versace also dressed then‐First Lady Michelle Obama for her final

state dinner in October 2017.89




88
   See Elle Krupnick, Lady Gaga Wears Elizabeth Hurley’s Safety Pin Dress By Versace, 10/3/12 8:34 AM,
https://www.huffingtonpost.com/2012/10/03/lady‐gaga‐elizabeth‐hurley‐safety‐pin‐dress‐
versace n 1935083.html (last accessed November 15, 2017).
89
   “At The Final Obama State Dinner, Versace’s Glamour Shimmers,” The Washington Post, October 18, 2016
(https://www.washingtonpost.com/lifestyle/style/at‐the‐final‐obama‐state‐dinner‐versaces‐glamour‐
shimmers/2016/10/18/f26a6e9a‐9567‐11e6‐bc79‐af1cd3d2984b_story.html?utm_term=.bbbe146e6dbe) (last
accessed on November 15, 2017) (reporting that Versace dressed then‐First Lady Michelle Obama in a custom
rose‐gold chain‐mail gown from Atelier Versace for the Obamas’ final state dinner in honor of Italy’s prime
minister); “Glitz, Glamour, and Tragedy: How Gianni Versace Rewrote The Rules of Fashion,” The Guardian,
October 25, 2017 (https://www.theguardian.com/fashion/2017/jul/11/glitz‐glamour‐tragedy‐how‐gianni‐versace‐


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        Below are just three examples from Versace’s Twitter feed (discussed below) of

celebrities sporting Versace styles on the red carpet this past year:




                                   Fashion Shows. Versace promotes the brand and its mark

through press surrounding fashion shows. There are six fashion shows each year in Milan and

Paris. These shows are attended by press and celebrity guests. This year, the Versace fashion


rewrote‐rules‐fashion) (last accessed on November 15, 2017) (summarizing history of Versace dressing celebrities
for high profile events).


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show drew particular attention as it paid tribute to Gianni Versace on the twentieth anniversary

of his death, featuring a collection of the world’s most famous Super Models wearing gold and

flanking Donatella Versace on the catwalk for the conclusion of the show.90 Here are some

images and coverage from that event:




90
  Friedman, Vanessa, The Inside Story of Donatella Versace’s Homage to Gianni: Classic Prints and Your Favorite
‘90s Supermodels, The New York Times, Fashion & Style Section, Sept. 22, 2017
(https://www.nytimes.com/2017/09/22/fashion/donatella‐versace‐milan‐fashion‐week.html) (last accessed on
November 15, 2017).


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        On Line Coverage. Versace has been covered extensively online. On June 23, 2017, the

New York Times posted a story “48 Hours With Donatella Versace” about Ms. Versace’s

activities during the Milan fashion show:




        Ms. Versace was also featured on Vogue.com, and other fashion sites in 2017.91

        Social Media. Versace invests in social media to promote and maintain its luxury brand.

On Facebook, Versace has more than 4.8 million followers and likes. On Twitter, Versace has

more than 4.2 million followers. Versace’s Instagram account has more than 10 million

followers. Versace is extremely active on social media. I have included above many images

from Versace’s Twitter feed that depicts its fashion shows, celebrities wearing its product,

images of its product as featured in magazines and other media, and images of new products

91
  http://www.vogue.co.uk/person/donatella‐versace (last accessed November 15, 2017);
https://www.theguardian.com/fashion/2017/sep/14/interview‐donatella‐versace‐my‐brothers‐death‐made‐me‐
strong (last accessed November 15, 2017);
https://www.newyorker.com/magazine/2007/09/24/mondo‐donatella (last accessed November 15, 2017).


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being released. Here are some examples from Versace’s Facebook page, all of which appear as

high production value videos to viewers on Facebook:




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       Fashion Blogs. Versace also promotes its brand and mark through relationships with

bloggers who are “fashion influencers.” Versace lends clothing and accessories to these fashion

influencers and invites them to attend fashion shows and events. These influencers’




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association with Versace increases recognition of the Versace brand and adds to the fame of its

trademark.

        As further demonstration of the strength of the Versace mark, and the meaning it

conveys of the highest quality and style, Versace appears frequently in popular music and

popular culture. Just to take one example, the Bruno Mars’ hit, “Versace On the Floor,”

released in 2016, reached number 7 on the Billboard US Dance Club Songs chart, and number

16 on Billboard’s Adult Top 40 Chart.92 It was nominated for a Soul Train Ashford & Simpson

Songwriter’s Award.93 Versace also repeatedly appears as representing the height of luxury and

style in many Hip Hop videos and songs.94 Versace is mentioned, for instance, in Kanye West’s

song “All Falls Down.”

        The Metropolitan Museum of Art: Versace couture pieces belong to the collection of the

Metropolitan Museum of Art (MMA) in New York City. Additionally, on the museum’s page one

finds references to Versace literature and information, including Richard Martin’s (1997) book

which I have referenced in my report and which is now out of print (has sold out). The main

picture featured on the museum’s publications online page is one of the baroque elements

against a leopard (animalia) textile (picture shown below).95




92
   https://en.wikipedia.org/wiki/Versace on the Floor.
93
   Bruno Mars, Solange Lead ‘Soul Train’ Nominees, Alice@97.3, http://radioalice.radio.com/2017/10/17/soul‐
train‐awards‐nominees/ (last accessed on November 15, 2017).
94
   See “A History of Versace in Hip Hop, by Zandile Blay, May 21, 2013, Complex.com (last accessed on November
15, 2017) (http://www.complex.com/style/2013/05/a‐history‐of‐versace‐in‐hip‐hop_580353/) (last accessed on
November 15, 2017).
95
   https://www.metmuseum.org/art/metpublications/gianni versace (last accessed on November 15, 2017).


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        In short, it would be difficult to imagine a mark that has developed a better known

meaning as synonmous with glamor, the elegance, and luxury both in the marketplace and in

popular culture. In my opinion, Versace is a very strong mark.

               2.     The Proximity of the Goods

        To begin with the obvious, Versace sells apparel and accessories throughout the United

States (and the world). Versace 19.69 also sells apparel and accessories throughout the United

States (and the world). The products are therefore in very close proximity.

        In addition, Versace 19.69 markets exactly the same categories of products as does

Versace, including:

       Jewelry

       Ladies handbags, wallets, ladies and men’s bags


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         Men’s and women’s shoes

         Men’s tailored clothing

         Men’s shirts

         Ladies dresses

         Ladies swimsuits

         Ladies pajamas, robes, slips and bras

         Bedding

         Men’s and women’s jackets and coats

         Men’s and women’s sunglasses

         Fragrance

         Products for the home

         Men’s and women’s sportswear

         Men’s and women’s watches.96

          Both Versace and Versace 19.69 products are sold through brick and mortar apparel

retailers and online. And they are sold in similar geographic areas, including the United States.

                 3.        The Similarity of the Marks

          Again, I begin and end with what is obvious. Versace 19.69 uses the famous and

instantly recognizable trademark “Versace” in its company name.

          Compare the trademark




96
  Versace 19.69 Supplemental Response to Versace Interrogatories 2 & 5; Versace Group, VERSACE0008801, 8821
et seq.


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with Versace 19.69’s company name as it appears on product advertising, packaging, labeling,

etc.




           As a preliminary matter, in high‐end fashion, the founding designer’s last name is almost

always used to represent the brand itself, e.g., Chanel, Armani, Zegna, Prada, St. Laurent.97

Aside from some additional verbiage in Italian (…Abbigliamento Sportivo SRL), which an average

American consumer would be most unlikely to understand in my opinion, the Versace

trademark and the Versace 19.69 Abbigliamento Sportivo SRL company name are virtually

identical – they start with the same distinctive word, that word “Versace” sounds the same, and

they would appear to mean the same thing to almost any American consumer at all familiar

with fashion: Gianni Versace founded and was the guiding creative intelligence behind both

marks, even though neither Gianni Versace nor any member of his family apparently ever had a

thing to do with Versace 19.69. In my opinion, it almost goes without saying that the marks are

extremely similar.

                   4.       Actual Confusion


97
     Kapferer, Jean‐Noël & Vincent Bastien, The Luxury Marketing Strategy, 2009, pp. 143.


                                                         75                                 ATTORNEYS’ EYES ONLY
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          In Section III.D.3 above, I explain the reasons why there is, purely as a factual matter, a

high likelihood that consumers will confuse Versace 19.69 products with real Versace products.

I have also reviewed evidence of actual customer confusion, which is consistent with and

confirms my opinion.

          For example, I have been told that the retailer

                                                                          . I reviewed examples

from that database and I saw the type of consumer confusion I predicted would happen with

Versace 19.69’s use of the Versace name. For example, the database reports:

          




             I



          




                             98



          The website                                                       , I am told, and a review

of documents from that website shows that

                                                     . For example:



98
     See TJX_00000009, TJX_00000039, TJX_00000069.


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       



                                                                        9



       
                                       00



       


                                  01



       




                                            102



       Likewise, I am told                             and Overstock.com also keep complaint

databases. I have reviewed evidence of actual confusion concerning Versace 19.69 products

from those databases, and that evidence comports with my previous analysis of confusion:

          I




99
   GROUPON0000776, 780.
100
    GROUPON0000776, 800.
101
    GROUPON0000776, 804.
102
    GROUPON0000776, 820 (emphasis added).


                                                  77                          ATTORNEYS’ EYES ONLY
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           
                             03



              It’s very nice. Versace makes interesting jewelry! [Overstock database,
               referring to Versace 19.69 jewelry]

              “Versace purse was awesome they were no flaws. [Overstock database,
               referring to Versace 19.69 purse]104

           The following are excerpts from a complaint from




103
      Zulily00197, 203‐04.
104
      OVERSTOCK0000013.


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                                79                     ATTORNEYS’ EYES ONLY
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(To Bluefly.com, B0001‐6, referring to Versace 19.69 Women’s Handbag #427077401.)

           The following are additional comments posted to online websites selling Versace

19.69.105




105
      Other evidence of actual consumer confusion is collected in my list of reliance materials. Appendix 1.


                                                           80                                 ATTORNEYS’ EYES ONLY
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(To Poshmark.com, Versace0000447, referring to Versace 19.69 handbags.)




(To Groupon.com, Versace0000243, referring to Cambridge Kiss Lock Satchel.)




(Comment on Poshmark.com, Versace 0002985, at 34, referring to Versace 19.69 handbag




(From Yahoo Answers webpage, Versace0000318, referring to Versace 19.69 sunglasses.)




                                            81                            ATTORNEYS’ EYES ONLY
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(To Amazon.com, Versace0000075, referring to Versace 19.69 Women’s Leora Flat Sandal.)




(Comment on Versace 19.69 Youtube channel, Versace0000380, referring to Versace 19.69

shoes.)

           Nor is it simply customers who are confused. Retailers have been confused themselves,

or have demonstrated concern over the possibility that their customers would confuse Versace

19.69 and the real Versace (as they clearly have). For example, an email from online retailer

Bluefly.com to La Moda, a licensee of Versace 19.69, reads:

               I hope all is well. I wanted to let you know that we’ve decided not to move
               forward with brand Versace 19.69 Italia on Bluefly. After doing some
               research on the brand and browsing our competitors, we have some
               concerns about the quality of the product and damaging the authenticity of
               Bluefly’s European luxury business. We also do not want our customer to
               associate Versace 19.69 with Versace Collection, as we have a strong
               presence of the [latter] on site.106



           Erica Labrie, of the E5labrie website, wrote the following email to Versace licensee In

Moda’s U.S. distributor La Moda with regard to V19.69 handbags, showing complete confusion

as to the actual source of Versace 19.69 handbags:

106
      V1969‐0002149 (emphasis added).


                                                   82                           ATTORNEYS’ EYES ONLY
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            Is there any possibility that someone could send me an authentication letter
            stating that these are purchased from Versace directly with a signature. My
            buyer is extremely concerned. If there is no way to authenticate or provide
            this 12 digit pin. I would need some kind of proof that it is directly from
            Versace. I am asking so much of your company because my supplier and I are
            looking for a long term company to provide ultra high end designer fashion
            to new retail stores. What this means is that I would be buying large
            quantities several times per month. I need to be th[o]rough.107

        Or these from other confused retailers:

            Hi, is Versace v 1969, a unit of “Versace” brand? Or is v 1969 entirely
            different?108



            Hello I wanted to know if these [Versace 19.69] backpacks are Versace or
            another brand[?]109

        Beyond these examples of customer and retailer confusion (and there are many more

examples in Appendix 1), I also reviewed the expert report of Dr. Kent Van Liere, who

conducted a detailed survey to assess whether the use of the word “Versace” in the company

name “Versace 19.69 Abbigliamento Sportivo SRL” on Versace 19.69 products and packaging

causes confusion. Dr. Van Liere’s study found that, in total, 75 percent of respondents are

confused, with confusion ranging between 70 percent and 83 percent depending on the specific

product tested. I understand from the report that such results show very high actual

confusion— a result I would expect based on my experience and on my observation of Versace

19.69’s use of Versace’s trademark and its copying Versace’s look, along with Versace 19.69’s

parasitic branding strategy.

                5.      Marketing Channels

107
    V1969‐0002079 (emphasis added)
108
    V1969‐0002087.
109
    V1969‐0002123.


                                                  83                          ATTORNEYS’ EYES ONLY
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        As a general matter, both Versace and Versace 19.69 market online and in retail clothing

outlets. In addition, although Versace’s luxury goods are distributed through a global network

including over 200 Versace boutiques and other high‐end retailers, Versace has two “second

lines” (sometimes called diffusion lines): Versace Collection and Versace Jeans. Versace also

designates certain other second lines by product type: Versace Home, Versace Fine Jewelry,

Versace Watches, and Versace Eyewear.110 All Versace lines embody the same Versace

“personality” and commitment to quality and exclusivity, but the second lines are priced more

within reach of the consumer who aspires to, but may not yet be able to, afford luxury

brands.111 As Carlo Licausi of Versace testified, “I want to stress that the quality must always be

the same and perfect regardless of whether it is a first or second line.”112

        These Versace “second lines” market through many of the same channels ‐‐ i.e., in many

of the same retail stores and on the same websites ‐‐ that Versace 19.69 has flooded with its

“at‐first‐glance” similar, but highly inferior, products conspicuously labeled as “Versace.” For

example, as noted in the previous section on actual confusion, Bluefly.com, which is an online

retail store, expressed concern about selling both Versace and Versace 19.69 products because

Bluefly did not “want [its] customer to associate Versace 19.69 with [the second line] Versace

Collection,” since Bluefly was already selling Versace Collection products.




110
    Croncota Declaration ¶ 12.
111
    I confirmed this with a phone conversation with Lorenzo Conti, Versace’s Chief Marketing Officer, on November
17, 2017.
112
    Licausi Depo. at 27:8‐11.


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                                                                       .113 In short, Versace 19.69’s

marketing channels sometimes directly overlap with Versace’s marketing channels.

                  6.       Type of Goods and Purchaser Care

         As discussed previously, Versace 19.69 appears to intentionally produce versions of

many of the same products that Versace designs and markets. In my experience, consumers

purchasing clothing, sunglasses, items for the home, etc., do not exercise a particularly

sophisticated amount of care in their purchases (as consumers purchasing, for example, an

Hermès bag might). As a general matter such consumers also do not possess a particularly

strong knowledge base concerning the nature of luxury brands and “second lines.”114

         Specifically, consumers for a luxury brand like Versace may be divided into three basic

categories: absolute (consumers with great spending power who constitute repeat customers

for the most exclusive products of exclusive brands such as Versace); aspirational (consumers

with some disposable income, fascinated by the message/dream a luxury brand like Versace

communicates, and aspiring to appear wealthier than they really are); and accessible

(consumers with limited disposable income, perhaps just initiated to luxury purchases, drawn

to brands that are well‐known, and who favor products that are used as signifiers of social

status even though in reality the social status has not been achieved yet).115

         In my experience, aspirational and accessible consumers often have very little real

familiarity with the nature of luxury brands (other than brand names and logos) and, upon

seeing a product clearly labeled with the Versace trademark at a discount price point, would


113
    Dillards 0013, 0015.
114
    Silverstein, Michael J. & Neil Fiske, “Luxury for the Masses,” in Harvard Business Review, April 2003
(https://hbr.org/2003/04/luxury‐for‐the‐masses) (last accessed on November 15, 2017).
115
    Crossan, Mary M. & Manu Mahbubani, Louis Vuitton, Feb. 4, 2013, HBS W13009‐PDF‐ENG.


                                                         85                                  ATTORNEYS’ EYES ONLY
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likely assume they are buying a Versace second line or diffusion brand, and be apt to “buy first

and ask questions later,” a phenomenon that we see in many of the consumer complaints

recorded above and in Appendix 1. In addition, many of these consumers would not have

sufficient sophistication even to “ask questions later,” and are likely even now carrying a

Versace 19.69 handbag or wearing a Versace 19.69 jacket, fully believing they are wearing and

displaying a genuine Versace product.116

                 7.      Intent

        Based on my familiarity with branding strategies, I conclude Versace 19.69’s parasitic

use of the Versace trademark and design “personality” must be intentional. Indeed, it appears

the entire basis and purpose of Versace 19.69’s branding strategy is to persuade consumers

that it is either the real Versace, or a Versace “second line.”

        First, Versace 19.69 uses Versace’s trademark in its company name. It is difficult to

believe that this is a mere coincidence. As I have discussed above, as a general rule, design

houses are named for their founding designer. Santo Versace testified that Gianni Versace SpA

was named by Santo and Gianni Versace. He testified that they did not consider other names

because “we wanted to promote Gianni Versace because we were looking at France, to Louis

Vuitton, to Hermès, to Yves Saint Laurent, to Christian Dior. So we wanted to promote the

creative person, the creator, the absolute genius of Gianni Versace.”117 In contrast, Versace

19.69’s purported founder, a man named Alessandro Versace, does not appear even to have

been a designer, much less a relative of Gianni Versace.118 Instead, he appears to have been a



116
    Berghaus, Benjamin et al, The Management of Luxury: A Practitioner’s Handbook, 2014, pp. 91‐94 & 335.
117
    Santo Versace Deposition at 34:5‐18.
118
    See footnote 44 above.


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person lucky enough to share the same name as a famous founding designer of a different

design house. To someone familiar with branding strategies, it is difficult to believe that the

fame of Gianni Versace and the House of Versace did not play a decisive role in the decision to

start a fashion company and name it after Alessandro Versace‐‐ despite Alessandro’s being

totally unknown to the design and fashion world, and despite him not even being a designer.

       Next, as I have already discussed, Versace 19.69 plainly copies the design style and

brand “personality” of the real Versace; it manufactures the same categories of products as the

real Versace; and it does its best to mislead consumers into believing its products are made in

Italy, like the real Versace’s products. Finally, the company attempts to market itself in

advertising as a high‐end fashion house like the real Versace, when it does not manufacture or

design any products at all, but merely licenses its name to those who manufacture low‐end,

inferior quality products and then label those products with the famous Versace trademark. In

my opinion, this conduct cannot be accidental or coincidental. It must be purposeful.

       I also note that the brand “Versace 19.69,” or the mark “V19.69,” has almost no value in

the marketplace, except to the extent it has or is marketed with an unspoken but encouraged

assumption that the brand either is, or is a part of, the real Versace. That is my opinion (and I

venture to say the opinion of anyone familiar with basic branding concepts), but the record

amply supports it. For example, Serge Babayan, the president of Legwear and the CEO of

Central Carolina Hosiery, a Versace 19.69 licensee, testified as follows:

           Q. Why were you interested, as the president of Legwear and CEO of CCH in
           entering into this license agreement with Versace 19.69 Abbigliamento
           Sportivo?

           A. To create more sales.



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                Q. Why were you interested in this particular brand?

                A. Because of the Versace name.

                Q. What was it about the Versace name that attracted you?

                A. The label.

                Q. Were you attracted because the Versace name was a well known,
                successful brand?

                A. Yes.

                Q. And the ability to use the Versace name within the Versace 19.69
                Abbigliamento Sportivo company name made this license valuable?

                A. Yes.
                                                        ***

                Q. If this were a license only to [use] V1969 or the V1969 logo, would you
                have been interested in the license?

                A. Absolutely not.

                Q. Why not?

                A. What that mean? V1969 meaningless for me for the market.119

           Sol Bergman, who managed Versace 19.69 shoe licensee FHQ, testified the same way:120

                Q. And you took the license because of the value of the Versace name; right?

                A Yes.

                Q You thought that having the Versace name associated with the shoe
                license made it something very attractive?

                A Yes.

                Q And what you wanted to sell under the license agreement was Versace
                19.69 Abbigliamento Sportivo shoes, not V1969 shoes?

119
      Babayan Depo. at 15:25‐16:20; 16:25‐17:7 (emphasis added).
120
      I have not included the lawyer’s objections in this excerpt.


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             A Yes.

             Q Because V1969 on its own doesn't have much value?

             A Correct.121

In addition, the record I have reviewed contains direct confirmation of Versace 19.69’s intent.

            Versace 19.69’s agent in the US, Valero Enterprises, reviewed a holiday box
             for hosiery created by licensee CCH. CCH owner Serge Babayan wrote that
             the packaging for Versace 19.69 “need to be more lace/ gold / geometrics
             aggressive styles same as Versace family.” Valero responded: “Our brand is
             contemporary and yes we are borrowing the legacy of Versace, but we are
             trying to make it different than the old baroque look of Versace.” Valero
             then told CCH that the company logo on the box needed to be “Versace
             19.69 Abbigliamento Sportivo Srl” on one line and “Milano Italy”
             underneath.122 As discussed above, in my opinion, Valero is correct and
             Versace 19.69 does borrow on the legacy of Versace, including its signature
             style.

            Versace 19.69’s agent in the US Valero Enterprises distributed a Frequently
             Asked Questions document that expressly states: “V.1969 is to Versace what
             Armani Exchange is to Armani . . . .”123 This statement could not be further
             from the truth. Armani Exchange is a diffusion brand of the famous fashion
             house Armani, founded by Giorgio Armani. Armani Exchange helps Armani
             target the accessible and aspirational consumers. Armani completely
             controls Armani Exchange. The strategy to establish Armani Exchange was
             set by Armani’s leadership.124 Versace 19.69, I am told, has literally no
             connection whatever with Versace. I do not know how a claim of this kind
             could be made without intent.



121
    Bergman Depo. at 34:9‐35:4 (emphasis added).
122
    CCH‐0000168‐173, Depo. Exh. 12.
123
    AHQ‐0002975‐76 (emphasis added).
124
    I reviewed testimony by the President of the Versace Board of Directors and co‐founder Santo Versace. He
testified about how Versace uses the “Versus” brand to attract younger consumers and introduce them to the
world of Versace. This is not dissimilar to the idea of Armani deciding as a strategy to create Armani Exchange as
part of the corporate strategy. See Santo Versace Deposition at 67, 74, 76, 78‐80 (“Versus was created with this
spirit. This is to accustom young people to get to know Versace – prepare them for the Versace world.” “So it is
helpful…for us because we are handling it.”) Mr. Versace explained: “If the Versus brand is managed correctly…it
will prepare young people to the Versace world which means that young people dress in a certain way but then
when they start working and they start making money they move from a tiny car, a Fiat 500, to a Mercedes. So
they move from Versus to Gianni Versace.” Id. at 80:18‐25.


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            Indeed, Versace 19.69’s agent Valero Enterprises actually pitched Versace
             19.69 to prospective licensees by telling them, “[u]tilizing the brand
             awareness of the name Versace, Alessandro Versace, cousin to Gianni
             created Versace 19.69 Sportivo . . . to take the premium name to the luxury
             stores as well as sub‐branding the name to other retailers . . . .” 125

         To the extent factual confirmation of Versace 1969’s intent to infringe Versace’s

trademark and capitalize on Versace’s brand is needed, the record provides it in ample

measure. In my opinion, Versace intended to market its brand in the US based on an implied

relationship with Versace that does not and never did exist.

                  8.       Likelihood of expansion

         As I have already described, Versace 19.69 has already expanded into Versace markets

(indeed that is the point of the whole Versace 19.69 brand), and presumably will continue to do

so if not prevented by the courts. I understand that there is evidence of Versace 19.69

expansion efforts. On June 27, 2016, Versace 19.69’s owner wrote “Our company, Versace

19.69 Abbigliamento Sportivo SRL . . . has an annual growth between 67% and 78% depending

on the territory.”126 After many U.S. licensees stopped selling product following the litigation

filed by Versace in 2016, Mr. Papadas testified that Versace 19.69 started selling product in the

U.S. through its European master licensee In Moda’s subsidiary company in the U.S., La Moda

Italiana.127 My understanding is Versace 19.69 is still identifying and signing new licensees. Mr.

Papadas testified that Versace 19.69 entered into a new license agreement for sales in Europe

as recently as June 2017.128




125
    AHQ‐0003614 (emphasis added).
126
    V1969‐0013660.
127
    Papadas Depo., Vol. II, at 178:14‐179:13.
128
    Papadas Depo., Vol. III, at 416:12‐418:9.


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        F.       Harm to Versace’s Brand Caused By Versace 19.69’s Trademark Infringement

        It is basic branding theory that the harms stemming from consumer confusion are

particularly damaging to a luxury brand.129 As already discussed, luxury brands, including

Versace, rely on scarcity and maintaining strict control over the manufacturing and distribution

processes of their products. A luxury brand increases profits not by increasing output, but by

charging a premium for an exclusive product. It is only able to charge such a premium by

ensuring that its trademark signifies exclusivity, prestige, and scarcity – as I’ve described earlier,

that the “promise” of the brand is truly fulfilled both in its products and in what the brand

means to the consumer.

        Versace 19.69’s parasitic branding and marketing strategies harm the real Versace by

undermining its brand “promise” to its key consumer constituencies and inhibiting Versace’s

ability to grow. As a preliminary matter, luxury brands grow through use of two main branding

strategies – introducing products accessible to lower tiers of the market (in other words, a

“pyramid” structure with lower priced goods toward the bottom of the pyramid), or introducing

different product categories, thereby making itself a “lifestyle” brand.130

        Versace uses both strategies. The pyramid approach helps Versace reach as broad a

market as possible. At the top of the pyramid, Versace reaches absolute and aspirational

consumers with products ranging from approximately $800 to approximately $8000.131 In

contrast, the accessible consumer can purchase Versace second lines and Versace licensed


129
    Cesareo, Ludovica & Alberto Pastore, “Acting on luxury counterfeiting,” in Berghaus, Benjamin et al eds. The
Management of Luxury: A Practitioner’s Handbook, 2014, pp. 341‐357
(https://www.researchgate.net/publication/274373046_Acting_on_luxury_counterfeiting) (last accessed on
November 15, 2017).
130
    Kapferer, Jean‐Noël & Vincent Bastien, The Luxury Marketing Strategy, 2009, pp. 297‐322.
131
    See Section III.E.6 above for discussion of types of consumers.


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product brands such as Versace Eyewear, Versace Watches, and/or possibly fragrance, which

have lower price points. While the licensees commit to promote these Versace products

through advertising, all communications content (print, digital ads, events, promotions etc.)

gets approved by Versace first.132 Versace prices its various product categories and lines with

extreme care, so as to maintain the correct ratio of quality of materials to price. (As noted

above, Versace remains committed to excellence in all products offered, the difference in price

point derives from the source of the materials used to create the product.)133 A very good

example of these strategies is Versace’s collaboration with fast fashion brand H & M for which

the luxury house created a special collection of limited pieces that were released

simultaneously around the globe. Customers who had the option to shop in the store (and line

up for at least 24 hours) or online (but had to suffer from heavy website traffic caused by the

popularity of the brand and that resulted in a website crash which made them even more

hysterical about buying the Versace items). Needless to say, the merchandise flew off the

shelves within 30 minutes of its release and made this particular segment of consumers (mainly

aspirational and accessible) very happy, having given them the opportunity to own original

Versace items at a reasonable price.134

        I mentioned previously that Versace has also introduced several other product

categories (decorative objects, textiles and furniture for the home; perfumes; a hotel, etc.) thus

also becoming a lifestyle brand that has evolved around the strong baroque design philosophy


132
    Phone conversation with Lorenzo Conti, Versace’s Chief Marketing Officer, on November 17, 2017.
133
    Licausi Depo. at 26:11‐27:11; 49:15‐53:24.
134
    Arthurs, Deborah for MailOnline, “24‐hour queue… sold out in 30 minutes: shoppers go wild for Versace’s
collection at H & M (but website crashes under the strain),” November 18, 2011.
(http://www.dailymail.co.uk/femail/article‐2062599/Versace‐H‐M‐collection‐Donatella‐greets‐desperate‐
shoppers‐website‐crashes.html) (last accessed on November 15, 2017).


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started by Gianni Versace and continued by Donatella Versace. Versace’s consistent pricing

strategy targets both the absolute and aspirational consumer, who regularly buys from luxury

brands and retailers, as well as the accessible consumer, who wants to make such purchases,

but has less money with which to do so. And throughout this, Versace maintains tight control

over how the brand is presented so that it is consistent with the brand image, and it closely

protects product quality.

        These two consumer targeting strategies – the pyramid strategy and the lifestyle brand

strategy – are key to understanding the damage Versace 19.69 will inevitably do to Versace’s

trademark. Accessible consumers themselves constitute a multi‐tiered marketing segment. In

my experience, for a luxury fashion brand like Versace, as a general rule accessible consumers

are those with enough disposable income, for example, to buy a pair of Versace Jeans that cost

$400.135 Nearly all consumers, however, whether they have disposable income or not, have

heard of Versace, and know it to be a brand associated with Italian heritage and a strong design

aesthetic. The largest segment of consumers consists of accessible consumers (people with

little exposure to luxury) who may occasionally use their disposable income to splurge on luxury

purchases, including on Versace second lines and product lines. I estimate that in aggregate all

luxury consumers represent 55% to 65% of the market.136




135
   Kapferer, Jean‐Noël, Kapferer on Kapferer: How Luxury Brands Can Grow Yet Remain Rare, 2015, pp. 91‐93.
136
   Shullman, Bob, “All Affluent, Wealthy, and Luxury Consumers Are Not the Same,” June 16, 2017
(https://www.mediapost.com/publications/article/302919/all‐affluent‐wealthy‐and‐luxury‐consumers‐are‐
no.html) (last accessed on November 15, 2017). See also: Chehab, Mayssa & Joris Merks‐Benjaminsen, “A Look at
Luxury Shoppers Around the World,” September 2013 on Google’s consumer insights
(https://www.thinkwithgoogle.com/consumer‐insights/luxury‐shoppers‐around‐world/) (last accessed on
November 15, 2017) and Deloitte, Global Powers of Luxury Goods 2017: The new luxury consumer
(https://www2.deloitte.com/content/dam/Deloitte/global/Documents/consumer‐industrial‐products/gx‐cip‐
global‐powers‐luxury‐2017.pdf) (last accessed on November 15, 2017).


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           Like the real Versace, Versace 19.69 targets the accessible consumer. By offering

essentially knock‐offs of the same categories of products as Versace, Versace’s second lines,

and Versace’s product lines at very low prices, Versace 19.69 markets its inferior products to

the accessible consumer, who is well aware of luxury brand offerings, but who makes her

purchase decisions based solely on brand name and price. In this case, the accessible consumer

will immediately recognize the trademark “Versace” in the company name Versace 19.69, and

will believe either that she is purchasing a genuine Versace product at some extraordinary

discount, or that she is purchasing a Versace second line of some type at a better than expected

price. (As discussed in Section III.E.4 above, the record is replete with consumers making

exactly these kind of errors.)

           When the parasitic user floods the market with inferior products bearing the real

brand’s trademark, the strength of the real brand’s trademark as an indicator of consistently

high quality is vastly diminished. Consumers tend to attribute or associate the inferior quality

of the parasitic user’s products with the luxury brand, thereby depleting the goodwill the luxury

brand had created through significant investment.137

           Moreover, even if some sophisticated customers (for example, absolute consumers)

know that there is no connection between the two brands, the association of the trademark

with a product of inferior quality undermines the luxury brand’s ability to evoke positive

associations, such as prestige, luxury, and exclusivity with absolute consumers. Because a




137
      Kapferer, Jean_Noël & Vincent Bastien, The Luxury Marketing Strategy, 2009, pp. 331‐332.


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brand like Versace relies heavily on its brand “promise” encompassing just such qualities,

Versace’s brand equity is particularly sensitive to such harm.138

        I also note that even if Versace 19.69’s products were of equal quality to Versace’s

products (which, based on the evidence I have reviewed, including samples of the products

themselves, they are not),139 Versace 19.69’s activities would still be harmful to Versace’s brand

equity and trademark. By introducing new products to the market bearing Versace’s

trademark, Versace 19.69 undermines the scarcity and exclusivity that are paramount to the

maintenance of a luxury brand. As Versace 19.69 floods the market with products bearing the

Versace trademark, the exclusivity connected to that trademark fades, as does the premium

that Versace can command. The brand, Versace, which has always been based on scarcity,

quickly becomes little more than a commodity. In addition, because the distinctiveness of the

trademark is impaired, the luxury brand now has less independent significance to third‐party

observers and therefore less ability to evoke positive attributes about the status of the

consumer.

        This is in fact exactly what happened to the Calvin Klein brand between 1998 and 2003.

Unscrupulous marketers flooded Turkey and Russia with counterfeit Calvin Klein goods (mainly

jeans and tops), which, on the one hand, destroyed Calvin Klein’s ability to expand its business

in those countries. On the other hand, the fakes contributed to creating a general consumer

disinterest in the brand. Nothing about Calvin Klein any longer seemed exciting‐‐even for

customers who had access to the real Calvin Klein brand in the US. The brand, which relied on
138
     Cesareo, Ludovica & Alberto Pastore, “ Acting on luxury counterfeiting,” in Berghaus, Benjamin et al. eds. The
Management of Luxury: A Practitioner’s Handbook, 2014, pp. 341‐346
(https://www.researchgate.net/publication/274373046_Acting_on_luxury_counterfeiting) (last accessed on
November 15, 2017).
139
    Appendix 2 contains a list of the Versace 19.69 products I personally examined.


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luxury positioning, had become so ubiquitous due to the large number of “look alike” jeans and

tops that the public rejected the brand altogether. Calvin Klein has never recovered.140 This is

exactly the type of harm with which Versace 19.69 threatens the real Versace. In my opinion,

and based on my extensive familiarity with brands and branding, it is harm that is inevitable

unless Versace 19.69 either completely changes its branding strategy (including its company

name), or is not permitted to operate in the way it has.

        The same effect, under different circumstances, effectively destroyed the Pierre Cardin

brand. Pierre Cardin, an Italian‐born French fashion designer, had a prominent career as a

young designer working for several famous haute couture houses in Paris after WWII. In 1953,

he opened his own haute couture house with great success. Cardin was interested in growing

his brand to reach the accessible consumer. In the 1960s, he introduced ready to wear

collections—this was enough to expel him from the Chambre Syndical, the conservative French

governing body of haute couture that did not approve of luxury houses’ down market

strategies.

        Cardin continued designing both haute couture and fashion for the masses throughout

the 1960s and 70s. In the late 1980s, he began licensing his brand aggressively. His brand

extensions quickly moved beyond perfume and cosmetics (which is the standard for luxury

brands) and into all sorts of product categories that appeared to cover the whole range from

baseball caps to cigarettes and from men’s ties to toilet paper. A brand case analysis in the

Harvard Business Review reports that Cardin granted 800 licenses in 94 countries from which he

generated an annual revenue stream of one billion Euros. The fashion world strongly criticized

140
  Nunes, Paul F. and Narendra P. Mulani, “ Can Knockoffs Knock Out Your Brand?” October 1, 2008, HBS #R0810Z‐
PDF‐ENG (https://hbr.org/2008/10/can‐knockoffs‐knock‐out‐your‐business) (last accessed on November 15, 2017).


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him for devaluing his previously respected luxury brand. Women’s Wear Daily, the authority in

news reporting on the fashion industry, reported that “Cardin’s cachet crashed when his name

appeared on everything from key chains to pencil holders.” While the aggressive licensing

brought Cardin significant profits especially from a range of products marketed in Asia, the

brand Cardin lost its appeal for the discerning Western consumer of luxury. Very quickly

Cardin’s profit margins collapsed. The brand itself had lost a substantial part its value.

           It has been reported that in 2011 Cardin tried to sell his business for 1 billion Euros.

According to The Wall Street Journal this was a gross overvaluation of the brand, which did not

sell.141

           Moreover, it is not simply Versace 19.69’s products that harm Versace. Versace 19.69’s

use of the Versace trademark in opening retail stores, including in San Francisco and Santa

Monica, undermines the association of the Versace name and trademark with quality and

exclusivity. For example, as is clear from the picture below, the San Francisco store opened in

an undesirable area of Union Square on a block with ongoing substantial construction directly

across the street.




141
   Reddy, Mergen and Nic Terblanche, “How Not To Extend Your Luxury Brand,” Harvard Business Review,
December 2012 (https://hbr.org/2005/12/how‐not‐to‐extend‐your‐luxury‐brand ) (last accessed on November 15,
2017). See also: “Digging Deeper: Pierre Cardin’s Demise to ‘Licensing King’” in High Snobiety November 2015
(https://www.highsnobiety.com/2015/11/23/digging‐deeper‐pierre‐cardin/) (last accessed on November 15, 2017.


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       Likewise, the store in Santa Monica was planned to open next door to a restaurant

called the “Hummus Bar Express” in Santa Monica, California.




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           Versace 19.69 stores harm Versace’s status as a luxury brand. As with most luxury

brands, Versace boutiques are critical to Versace’s brand strategy because they communicate

Versace’s status as a luxury brand by providing consumers with an experience of quality and

exclusivity. Because Versace ensures that this experience is the same in all boutiques,

regardless of geographic region, Versace maintains a consistent brand identity through the

boutiques, which allows Versace to capture consumer interest from all levels of consumer,

including absolute, aspirational, and accessible consumers.

           Versace’s ensures that all aspects of Versace boutiques reflect Versace’s values of

quality and exclusivity, from location to interior design and atmosphere to service. In keeping

with this approach, Versace is very selective regarding the location of Versace boutiques. They

must be in luxury shopping districts of major cities. And they must be adjacent to other luxury

brands, but not just any luxury brand. Only certain luxury brands consistent with Versace’s

brand identity are acceptable co‐tenants.142

           Thus, in New York City, for example, the Versace boutique is located on Fifth Avenue,

one of the city’s main luxury corridors (Madison Avenue being the second). In addition to the

postal address, which is very important, as Versace recognizes, what matters most is who are

the brand’s neighbors. Versace is in good company in New York City: Dolce & Gabbana, Gucci,

and Prada are just a few of the most famous names near the Versace boutique. Today, luxury

brands that want to establish a global presence carefully study the real estate available in each

location as well as the mix of other luxury retail stores there. 143 Therefore, one does not find

boutiques for luxury brands in the middle of a construction zone or next to a hummus shop.

142
      Croncota ¶¶ 15‐17.
143
      Shuyato, Nadia & Hussam Kayal, “Elie Saab: Growth of a Global Luxury Brand,” May 17, 2013, HBS #W12092.


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In contrast, as noted above, Versace boutiques are located in luxury shopping districts of major

cities and are adjacent to other luxury brands. Versace 19.69’s move to open retail stores

bearing the Versace name and trademark that do not meet these high standards in terms of

locations, design and service harms Versace because it conveys to consumers that the real

Versace does not care about quality and exclusivity and therefore undermines the association

of those values with the Versace name and trademark. It is my opinion that, as a result,

Versace 19.69’s retail store strategy harms Versace’s brand and trademarks.

           G.      Versace 19.69’s Use of the Mark “Versace” Is Likely To Cause Dilution

           I have been asked to assess whether Versace 19.69’s use of the “Versace” name on its

products and the products of its licensees is likely to dilute Versace’s trademark. I have been

told that the law protects “famous” trademarks from dilution, with “famous” meaning “widely

recognized by the general consuming public of the United States” as a designation indicating a

single source of goods.144 Moreover, as discussed previously, I have been told that the law

protects famous trademarks from both dilution by tarnishment and dilution by blurring. As

explained below, I conclude that Versace’s trademark is famous among the general consuming

public of the United States, and that Versace 19.69’s use of the word “Versace” on its products

is likely to dilute Versace’s trademark, both by tarnishing Versace’s reputation and by blurring

the distinctiveness of Versace’s trademark.

                   1.      Versace’s Trademark is Famous Among the General Consuming Public in
                           the United States

           As already discussed at length, Versace’s trademark is famous the world over, and has

particular fame in the United States. The word “Versace” has obtained overwhelming

144
      McCarthy § 24:104.


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recognition by the general consuming public of the United States as a designation of the source

of the goods and services sold and distributed by Versace. This fame has arisen due to

Versace’s more‐than‐40‐year history marketing luxury apparel and products in the United

States; the fame and near universal recognition of Versace’s founder, Gianni Versace; Versace’s

significant marketing and promotional investments in the United States, including its high‐end

retail locations in some of the United States’ most desirable shopping venues; Versace’s

reputation as a manufacturer and distributor of impeccable products of the highest quality; the

fact that celebrities regularly wear and promote Versace attire at events of broad popularity in

the United States); and the fact that references to the Versace brand are pervasive in popular

culture, including in pop music and in the arts.145 Indeed, I am informed by counsel that several

courts have noted the fame of Versace’s trademarks.146 For these reasons, the fame of the

Versace trademark cannot seriously be doubted in my opinion.

                 2.       Versace 19.69’s Use of the Word “Versace” is Likely To Cause Dilution
                          by Tarnishment

        I have read that dilution by tarnishment means “association arising from the similarity

between a mark or trade name and a famous mark that harms the reputation of the famous

mark.”147 Versace 19.69’s use of the word “Versace” on its products (including when used in

the company name “Versace 1969 Abbigliamento Sportivo S.r.l”) is likely to cause dilution by

145
    See Section III.E.1 above.
146
    I have reviewed the opinion A.V. by Versace, Inc. v. Gianni Versace, S.p.A., 126 F.Supp.2d 328, 330 (S.D.N.Y.
2001) (“Gianni is a world‐famous design house founded in the 1970s by the late Italian designer, Mr. Gianni
Versace. Gianni owns a number of famous trademarks incorporating the name ‘Versace,’ as well as its signature
‘Medusa’ trademarks.” (emphasis added); Versace v. Versace, 2003 WL 22023946, at *3 (S.D.N.Y. Aug. 27, 2003)
(“Plaintiff owns several trademarks that include the “Versace” surname. . . . Sales of products bearing these marks
and others have lead [sic] to income for plaintiff of hundreds of millions of dollars each year from the United
States/Caribbean area. Gianni has spent millions of dollars in advertising and promotion each year to promote its
products and trademarks in the United States. Without question, these trademarks are nationally renowned.”)
(emphasis added). I have also reviewed selections from McCarthy on Trademarks regarding tarnishment.
147
    McCarthy § 24:89.


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tarnishment in my opinion because Versace 19.69’s products are of inferior quality to those

manufactured and sold by Versace, and I am not aware of the existence of any Versace 19.69

customer service relative to Versace’s comprehensive, highly customer‐focused service. By

using the “Versace” name on its products and in association with its minimal services, Versace

19.69 compromises the reputation that Versace has built over decades of investment, instead

creating an association among consumers between the famous Versace trademark and Versace

19.69’s low‐quality products and inferior customer service.

       For the reasons explained in Sections III.D and III.E.4, above, Versace 19.69’s use of the

“Versace” trademark is likely to confuse consumers with respect to the source and affiliation of

the Versace 19.69 products. However, even in the event that consumers are somehow not

confused and correctly perceive that Versace 19.69’s products have no affiliation with Versace,

Versace 19.69’s use of the mark “Versace” on products of markedly inferior quality still causes

immediate harm to Versace. As Versace 19.69’s low‐quality products saturate the market,

consumers increasingly associate the name “Versace” not only with the luxury, high‐quality

products marketed and sold by Versace, but also with the low‐quality, mass‐produced products

sold by Versace 19.69.

       This form of tarnishment is particularly harmful to a luxury brand, such as Versace, that

has built itself on the principle of scarcity and has developed a trademark that signals not only

the source of a product, but also the status of a consumer. As described above, a luxury brand

grows not by increasing production, but by increasing the premium it charges for a scarce

product, by making good on its partly intangible “promise” to the consumer. The scarcity of a

luxury product is what captivates the luxury consumer and permits the luxury brand to charge a



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premium. When a competing brand, such as Versace 19.69, uses the luxury brand’s trademark

on mass‐marketed products, the perception of scarcity among consumers is tarnished and the

luxury brand’s ability to charge a premium for its products is diminished. Over time, this results

in the commoditization of the luxury brand. The consumer no longer feels that the luxury

brand’s product is unique, resulting in the consumer being unwilling to pay a premium

attributable to the product’s rarity.

       Similarly, Versace 19.69’s use of the “Versace” name dilutes the ability of the trademark

to signify to the public positive attributes about the consumer who purchases a Versace

product. A powerful aspect of a luxury brand is its ability to operate as a “promise” of the

status of the consumer. In this respect, Versace’s brand is a powerful promise of positive

attributes, such as elegant, high fashion, provocativeness, and sensual glamour. By using the

“Versace” mark on low‐quality, mass‐marketed products, Versace 19.69 breaks the promise of

the “Versace” mark. As the Versace 19.69 products flood the market, the caché associated with

owning an authentic Versace product lessens, and the “promise” effect of the trademark

diminishes. Given the scarcity of Versace products in the market, and the relatively high

quantity of Versace 19.69’s mass‐market products, over a sufficient length of time, the

reputation and image that the Versace name evokes among the consuming public will shift in

favor of those attributes embodied by Versace 19.69’s products: budget, low‐quality materials,

mundane. This negative reputation tarnishes Versace’s trademark and its ability to charge a

premium for its products. Thus, even in a most unlikely world where consumers are never

confused about the source or affiliation of Versace 19.69’s products, Versace 19.69’s use of the

“Versace” trademark makes consumers less likely to purchase authentic Versace products,



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because the Versace brand has been tarnished ‐‐ its ability to keep its promise of high status to

the consumer is lost.148

                 3.       Versace 19.69’s Use of the Word “Versace” Is Likely to Cause Dilution by
                          Blurring

        I have read that dilution by blurring is “association arising from the similarity between a

mark or trade name and a famous mark that impairs the distinctiveness of the famous mark.”149

It is my understanding that, in determining whether dilution by blurring has occurred, courts

frequently consider the following factors: (1) the degree of similarity between the junior user’s

[new entrant’s] mark and the famous mark; (2) the degree of inherent or acquired

distinctiveness of the famous mark; (3) the extent to which the owner of the famous mark is

engaging in substantially exclusive use of the mark; (4) the degree of recognition of the famous

mark; (5) whether the user of the junior mark (the new entrant) intended to create an

association with the famous mark; (6) and any actual association between the junior mark and

the famous mark.150 After analyzing each of these factors, it is my opinion that there is a high

likelihood that Versace 19.69’s use of the “Versace” trademark will cause blurring, thereby

impairing the distinctiveness of Versace’ famous trademark.

        I have already considered many of the relevant factors. For example, I explained that

Versace 19.69’s use of the word “Versace” on its products is identical to (or, at the very least,

highly similar to) Versace’s trademark. I also explained that the Versace trademark has

acquired a high degree of distinctiveness and is an extraordinarily strong trademark that is

widely recognized within the United States. Moreover, I explained the evidence that indicates

148
    Pine, Joseph B. II & James H. Gilmore, Authenticity: What consumers really want, 2007.
149
    McCarthy § 24:115.
150
    McCarthy § 24:119.


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that Versace 19.69 adopted its name and branded its products with the intent of creating an

association with Versace’s famous brand.

       I also conclude that Versace has engaged in substantially exclusive use of the “Versace”

trademark within the United States. To my knowledge, no other company or individual has

used the “Versace” mark in connection with a business or other commercial activity that has

obtained significant recognition among consumers in the United States. Indeed, counsel has

asked me to assume that Versace’s trademarks are registered and that many of them have

become incontestable. In addition, the evidence I cited above, reflects not only that consumers

confuse Versace 19.69’s products and Versace’s products, but also that they draw an

association between Versace 19.69’s branding and Versace’s famous trademark.

       Even putting these factors aside, based on my experience as an expert in marketing and

luxury branding, it is my opinion that Versace 19.69’s use of the “Versace” name is highly likely

to impair the distinctiveness of Versace’s trademark. Versace’s trademark promises elegance,

impeccable quality, and sensual glamor. To say the least, Versace 19.69’s products diverge

from the quality that the public has come to expect from Versace. As Versace 19.69’s products

proliferate, the ability of the Versace trademark to uniformly signify Versace and its reputation

for high quality will wane. This is particularly true in light of the requisite scarcity of Versace’s

products. If Versace 19.69 continues selling mass‐market products bearing the “Versace”

name, it is foreseeable that those products will outnumber authentic Versace products in the

United States, resulting in Versace 19.69’s reputation and the quality of its products displacing

the associations that consumers have with the Versace name. Over time, the “Versace” name

will no longer reliably mean Versace; references to “Versace” will become ambiguous, requiring



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the follow‐up question “do you mean Versace or Versace 19.69?” Even if consumers are not

confused and are reliably able to distinguish Versace 19.69’s products from Versace’s products,

the similarity between the two companies’ branding and trademarks will result in blurring,

leading to a longer “journey” for consumers who must spend extra time and effort to

determine that the two firms using the “Versace” name are not affiliated. This undermines the

ability of Versace’s trademark to communicate the Versace “promise,” thereby reducing

consumers’ willingness to pay a premium for authentic Versace products.

IV.     Conclusion

        Versace’s brand mission is to add joy to the world by creating products of singular

power and grace, empowering people to live with freedom, confidence, and individuality. To

paraphrase Donatella Versace, the Versace brand sees fashion as a weapon, representing a

baroque lifestyle and luxury free from shame.151 At the same time, Versace’s brand rests on

impeccable craftsmanship, style, and quality. Versace, which was founded around one person’s

unique vision and philosophy, still respects that vision and strives to maintain its heritage

(including everything that relates to Gianni’s life). This is why Versace attracts some of the

most talented designers and artists in the world to collaborate with Donatella and produce

unique product today. The Versace brand also aspires to maintain a global presence through its

online e‐commerce store and to communicate its vision and mission to everyone around the

world, even if they have never purchased a Versace item.

        In my opinion, by using the trademark “Versace” to market its inferior quality goods,

Versace 19.69 confuses consumers who are drawn to Versace 19.69 by a brand name that has

151
   Donatella Versace Documentary (https://www.youtube.com/watch?v=K yCkhV9biI) (last accessed November
15, 2017).


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as its core element the famous Versace name. The number of goods produced and circulated

under the name Versace 19.69, the distribution network, and Versace 19.69’s pricing strategies

are all tactics Versace 19.69 employs to penetrate the market and inundate it with product.

        The amount of Versace 19.69 product that has been circulating in the market, and the

misleading language used in Versace 19.69’s sales pitches in order to link the brand with the

real Versace, and to confuse consumers and retailers, distorts public perception of Versace’s

value as a luxury brand. Today, when all brands’ reputation (as well as their strength and value)

rests on customer perception through word of mouth, online reviews, and community

influencers, the harm Versace 19.69 has caused and may potentially cause Versace is

immeasurable.




                                                           Thomaï Serdari, PhD
                                                           November 17, 2017
                                                           In New York, New York




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